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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                     )
UNITED STATES OF AMERICA,            )
                                     )
                                     )
                  v.                 ) Case No. 1:21-cr-138
                                     )
                                     ) District Judge James E. Boasberg
AARON MOSTOFSKY,                     )
                                     )
     Defendant.                      )
                                     )

DEFENDANT MOSTOFSKY’S MOTION TO DISMISS COUNTS ONE, TWO, FIVE
           AND SIX OF THE SUPERSEDING INDICTMENT




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       Defendant Aaron Mostofsky, through his counsel, files this motion to dismiss Counts

One, Two, Five and Six of the Superseding Indictment (SI), pursuant to Rule 12(b) of the

Federal Rules of Criminal Procedure, because they fail to state valid offenses and violate

constitutional protections, and because of errors in the grand jury proceeding.

                                      INTRODUCTION

       The SI charges that, on January 6, 2021, Mostofsky first unlawfully entered a “restricted

area” at the Capitol. 18 U.S.C. § 1752(a)(1). Then, while he was there, Mostofsky interfered

with a law enforcement officer during a “civil disorder,” § 231(a)(3), and, simultaneously or

perhaps sequentially, obstructed an “official proceeding,” i.e., “Congress’s certification of the

Electoral College Vote,” in violation of 18 U.S.C. § 1512(c)(2). SI, Counts One, Two, Five, Six.

Dressed though he was in a Purim costume, the government alleges that Mostofsky worked hard

that day.

       The legal theories on which those charges rest were crafted after January 6 by lawyers

tasked with “finding” bases to transform traditional misdemeanor offenses into novel felonies.

This was done at the expense of statutory text, case law, and legislative history. The wager: if

the public cares a good deal less about those dry legal subjects than about splashy photos of fur-

pelted protesters, public pressure might inspire the courts to go along with it. Either way, those

charges should be dismissed because:

       Section 1512(c)(2). The government’s obstruction theory distorts the plain meaning of

Section 1512(c) in several ways.

       First, every circuit to address the issue has construed the statute’s phrase “official

proceeding” to mean one with a truth-seeking function carrying the threat of a penalty, i.e.,

administering justice. That is why the Department of Justice’s handbook for prosecutors



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instructs that Section 1512’s “official proceeding” is no different from the “proceeding” found in

Section 1505, which limits obstruction-of-Congress offenses to congressional inquiries or

investigations. It is why, before January 6, the DOJ regularly stipulated in court the synonymity

between “proceedings” under Sections 1512 and 1505. Because the government admits that the

joint session of Congress on January 6 was not an inquiry or investigation, its Section 1512(c)

charge must be dismissed. It must also be dismissed as its argument requires the Court first to

resolve a political question: what are the constitutionally proper procedures for certifying

Electoral College votes, a question reserved for Congress under the Rulemaking Clause. U.S.

Const. Art. I, § 5, cl. 2. Courts say what the law is, but only Congress says what its

parliamentary rules are.

        Second, by taking the traditional parading-in-Congress misdemeanor offense and

claiming it now constitutes felony “obstruction of justice” under the financial and audit reforms

of the Sarbanes-Oxley Act of 2002, the government’s interpretation of Section 1512(c)’s

“residual clause” conflicts with the canon of ejusdem generis. Yates v. United States, 574 U.S.

528 (2015). Unless Section 1512(c)(2) is to swallow the rest of Chapter 73 (and Title 40), it

must be cabined to actions directed at undermining a proceeding’s truth-finding function by

impairing the integrity and availability of evidence. That standard is not satisfied by the

allegation that Mostofsky entered the Capitol in a fur pelt.

        Third, the government’s interpretation of Section 1512’s adverbial “corruptly” element

fails as a matter of law under any of the formulas it offers. Its theory is that “corruptly” means

nothing more than “wrongfully.” Decades ago, the D.C. Circuit found that construction

unconstitutionally vague. It still is.




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       Section 231(a)(3). Enacted as part of the Civil Obedience Act of 1968—a retort to the

civil rights movement—Section 231 was designed as a nightstick for civil rights leaders. That

partly explains why the government virtually never uses it. The other reason: it is

constitutionally infirm. Police powers belong to the States. The Commerce Clause did not give

the sponsors of the Civil Obedience Act the power to direct them. The government’s attempt to

duck the issue by claiming the January 6 “civil disorder” adversely affected a “federally

protected function” is a kluge: congressional entities, such as the U.S. Capitol Police (USCP), are

not “departments” or “agencies” “of the United States.” § 232(3). Anyway, the only court of

appeals to construe Section 231(a)(3) has cabined it to acts of violence—not alleged here—to

avoid unconstitutional overbreadth.

       Section 1752. Since its enactment in 1970, Section 1752 has criminalized the unlawful

entry into areas restricted for the protection of U.S. Secret Service (USSS) protectees. Statutory

text, legislative history, and common sense all point to the conclusion that the agency that

restricts such areas is the one that guards them, i.e., the USSS. An opinion by DOJ’s Office of

Legal Counsel agrees. But here, the government contends that any federal or state entity may

criminalize a person’s movements under federal law. It alleges that Mostofsky violated § 1752

because the Capitol was visibly restricted by the USCP. But the USCP do not guard the USSS

protectees identified in § 1752; they protect members of Congress, who are neither guarded by

the USSS nor covered by § 1752. The government’s interpretation of § 1752 is another nonce

argument designed for January 6 defendants alone.

       On all these grounds, independently and collectively, the Court should dismiss Counts

One, Two, Five and Six of the SI.




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                STATUTORY HISTORY AND FACTUAL BACKGROUND

       A.       Section 1512(c)(2)’s structure and legislative history

Section 1512(c) provides: “Whoever corruptly—

       (1)     alters, destroys, mutilates, or conceals a record, document, or other object, or
       attempts to do so, with the intent to impair the object’s integrity or availability for use in
       an official proceeding; or

       (2)     otherwise obstructs, influences, or impedes any official proceeding, or attempts to
       do so . . . shall be fined . . . or imprisoned. . .

§ 1512(c).
       Section 1515 defines the term “official proceeding” as used in Section 1512(c). “[T]he

term ‘official proceeding’ means—

       (A) a proceeding before a judge or court of the United States, a United States magistrate
           judge, a bankruptcy judge, a judge of the United States Tax Court, a special trial
           judge of the Tax Court, a judge of the United States Court of Federal Claims, or a
           Federal grand jury;

       (B) a proceeding before the Congress;

       (C) a proceeding before a Federal Government agency which is authorized by law; or

       (D) a proceeding involving the business of insurance whose activities affect interstate
           commerce before any insurance regulatory official or agency or any agent or
           examiner appointed by such official or agency to examine the affairs of any person
           engaged in the business of insurance whose activities affect interstate commerce;

§ 1515(a)(1).

       Section 1515 also defines the term “corruptly”—but only for obstruction offenses

charged “in section 1505.” § 1515(b). Before this definition was added, the D.C. Circuit had

determined that § 1505’s adverb “corruptly” was unconstitutionally vague. United States v.

Poindexter, 951 F.2d 369 (D.C. Cir. 1991). Congress subsequently amended § 1515 to provide,

       As used in section 1505, the term “corruptly” means acting with an improper purpose,
       personally or by influencing another, including making a false or misleading statement,
       or withholding, concealing, altering, or destroying a document or other information.


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§ 1515(b) (emphasis added).

       Section 1512(c)(2) was enacted as part of the Sarbanes-Oxley Act of 2002 (SOX). SOX

was “[a]n Act to protect investors by improving the accuracy and reliability of corporate

disclosures made pursuant to securities laws, and for other purposes.” Sabanes-Oxley Act of

2002, Pub. L. No. 107-204, 116 Stat. 745. As the previous U.S. attorney general described it,

SOX “was prompted by Enron’s massive accounting fraud and revelations that the company’s

outside auditor, Arthur Andersen, had systematically destroyed potentially incriminating

documents.” Mem. of William P. Barr, dated June 8, 2018 (“Barr Mem”), p. 5, available at:

https://bit.ly/2RYVZ47. Upon a review of the statute’s legislative history, the former attorney

general concluded that the plain purpose of § 1512(c)(2) was a “loophole closer meant to address

the fact that the existing section 1512(b) covers document destruction only where a defendant

has induced another person to do it and does not address document destruction carried out by a

defendant directly.” Id.

       The legislative history supports the former attorney general’s interpretation of §

1512(c)(2)’s purpose. A Senate Judiciary Committee report described SOX’s purpose as

“provid[ing] for criminal prosecution and enhanced penalties of persons who defraud investors in

publicly traded securities or alter or destroy evidence in certain Federal investigations.” S. Rep.

No. 107-146, at 2 (2002). The report states that the Corporate Fraud Accountability Act was

designed to “clarify and close loopholes in the existing criminal laws relating to the destruction

or fabrication of evidence and the preservation of financial and audit records.” S. Rep. No. 107-

146, at 14-15. Section 1512(c) did not exist as part of the original proposal. S. 2010, 107th

Cong. (2002). Rather, Senator Trent Lott introduced it as an amendment in July 2002. 148




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Cong. Rec. S6542 (daily ed. July 10, 2002). The senator explained the purpose of adding §

1512(c):

       [This section] would enact stronger laws against document shredding. Current law
       prohibits obstruction of justice by a defendant acting alone, but only if a proceeding is
       pending and a subpoena has been issued for the evidence that has been destroyed or
       altered . . . [T]his section would allow the government to charge obstruction against
       individuals who acted alone, even if the tampering took place prior to the issuance of a
       grand jury subpoena. I think this is something we need to make clear so we do not have a
       repeat of what we saw with the Enron matter earlier this year.

Id. at S6545 (emphasis added).

       Senator Orin Hatch explained that § 1512(c) would “close [] [the] loophole” created by

the available obstruction statutes and hold criminally liable a person who, acting alone, destroys

documents. Id. As the former attorney generally summarized this history, “The legislative

history thus confirms that § 1512(c) was not intended as a sweeping provision supplanting wide

swathes of obstruction law, but rather as a targeted gap-filler designed to strengthen prohibitions

on the impairment of evidence.” Barr Mem., p. 6.

       Unlike § 1512(c), Section 1505 concerns obstruction of congressional proceedings “by

threats or force.” It provides criminal penalties for:

       Whoever corruptly, or by threats or force, or by any threatening letter or communication
       influences, obstructs, or impedes or endeavors to influence, obstruct, or impede the due
       and proper administration of the law under which any pending proceeding is being had
       before any department or agency of the United States, or the due and proper exercise of
       the power of inquiry under which any inquiry or investigation is being had by either
       House, or any committee of either House or any joint committee of the Congress—

§ 1505 (emphasis added).

       The italicized portions of that section show that Congress limited the obstruction-of-

Congress offense to a specific kind of congressional “proceeding”: those pursuant to Congress’s

“power of inquiry,” which are “inquir[ies] or investigation[s].” § 1505. The legislative history of

§ 1505 shows that it was designed to prevent obstruction of only those proceedings held pursuant


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to Congress’s investigative power. Poindexter, 951 F.2d at 380-81. Section 241, the

predecessor of § 1505, was passed in 1940 to bar witness tampering before Congress. As the

D.C. Circuit summarized the legislative history: “The Senate and House Reports and the floor

debates concerning [§ 1505’s predecessor] . . . state that the ‘proposed legislation simply extends

the protection now provided by law for witnesses in Court proceedings to witnesses in

proceedings before either House of Congress or committees of either House (or joint

committees).’” 951 F.2d at 381 (quoting .R. Rep. No. 1143, 76th Cong., 1st Sess. 1 (1939); S.

Rep. No. 1135, 76th Cong., 1st Sess. 1 (1939)).

       B.      Section 231(a)(3)’s structure and legislative history

       Section 231 provides criminal penalties for:

       Whoever commits or attempts to commit any act to obstruct, impede, or
       interfere with any fireman or law enforcement officer lawfully engaged in the
       lawful performance of his official duties incident to and during the commission of
       a civil disorder which in any way or degree obstructs, delays, or adversely affects
       commerce or the movement of any article or commodity in commerce or the
       conduct or performance of any federally protected function—

§ 231(a)(3).

       Section 231(a)(3) was enacted as part of the Civil Obedience Act of 1968 (COA). Pub.

L. 90-284, Apr. 11, 1968, Title X. Senator Russell B. Long of Louisiana sponsored the COA

during the Senate’s debates over the Civil Rights Act of 1968. 114 Cong. Rec. 1294-96 (Jan. 29,

1968). It was proposed as a rejoinder to the civil rights bill and to the civil rights movement.

Long explained the purposes of the COA in floor debate:

       First, the COA was to nullify the legal protections proposed under the “hate crime” title

of the Civil Rights Act of 1968. Codified at 18 U.S.C. § 245, that title criminalized interfering

with another person because of the person’s race or because he engaged in federally protected

activity. Senator Long was clear that the COA was designed to diminish the hate crime law. 114


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Cong. Rec. 1287-94 (Jan. 29, 1968). His “greatest immediate concern” about the hate crime law

was “the unwitting stumbling block it could place before State and local officials in their honest

attempts to detain and prosecute incendiary rabble rousers.” Id. at 1289. He noted that “half of

the Baton Rouge police force could have been thrown into jail” under the hate crime law for

beating and setting attack dogs on peaceful protestors. Id.

         Second, it was the COA’s purpose to jail civil rights leaders. For example, Senator Long

said the COA was needed due to “a so-called civil rights march led by Dr. Martin Luther King in

the streets of Birmingham in March of 1963.” 114 Cong. Rec. 1294 (Jan. 29, 1968). During that

march, Long complained, Dr. King had “addressed a tense crowd with inflammatory words,”

while in jail, King “wrote an inflammatory letter which gained wide recognition in its pleas for

Negroes to disobey those laws they felt unjust.” Id. Long offered similar explanations for the

COA by reference to other civil rights leaders. 114 Cong. Rec. 5536 (Mar. 6, 1968). As for the

constitutional power Congresses needed to pass the COA—the Commerce Clause—Long

explained the COA would apply to intrastate conduct so that it would “not leave available to Rap

Brown or Stokely Carmichael the technical defense that they did not cross the State boundary

with the intent to create a riot.” 114 Cong. Rec. 5533.

         Third, Senator Long said the COA would “strike at” the “doctrine . . . that one should not

obey the laws that stand in the way of alleged ‘civil rights.’” 114 Cong. Rec. 1295 (Jan. 29,

1968).

         As to the COA section that would become § 231(a)(3), Senator Long explained that this

section “would make it a Federal offense for people to snipe at firemen or shoot at policemen

while they are trying to do their duty protecting lives and property.” 114 Cong. Rec. 5542.




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       C.      Section 1752 and the U.S. Secret Service

               1.      The legislative history of § 1752

       Congress enacted 18 U.S.C. § 1752 as part of the Omnibus Crime Control Act of 1970.

Public Law 91-644, Title V, Sec. 18, 84 Stat. 1891-92 (Jan. 2, 1971). At the time, the USSS was

part of the Treasury Department.

       Later Congresses would amend Section 1752, but like its current iteration, the 1970

statute provided that it was “unlawful for any person . . . (1) willfully and knowingly to enter or

remain in . . .(ii) any posted, cordoned off, or otherwise restricted area of a building or grounds

where the President is or will be temporarily visiting. . .” 84 Stat. 1891-92. 1 The statute made

clear which entity “prescribed regulations” governing the “posted, cordoned off, or otherwise

restricted areas where the President is or will be temporarily visiting”: the Treasury Department,

of which the USSS was then part. § 1752(d)(2); 84 Stat. 1892.

       In 1969, Senators Roman Lee Hruska and James Eastland designed S. 2896, which would

later be codified at § 1752. The very purpose of the bill was to give the Secret Service the power

to restrict areas for temporary visits by the president, a power which no other federal agency then

possessed. S. Rep. No. 91-1252 (1970). The Senate Judiciary Committee report accompanying

S. 2896 made clear that in 1970, “[a]lthough the Secret Service [was] charged with protecting the

person of the President . . . there [was], at the present time, no Federal statute which specifically

authorize[d] them to restrict entry to areas where the President maintains temporary residences

or offices.” S. Rep. No. 91-1252, at 7 (emphasis added).




1
  Unlike the current § 1752, the 1970 statute did not criminalize mere entry into a restricted area
but also required the disruption of government business or the obstruction of ingress or egress
from the area. 84 Stat. 1891-92.
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        Similarly, during floor debate on the bill, senators explained that the key purpose of the

legislation that would become § 1752 was to vest the Secret Service in particular with the

authority to set restricted areas, cutting through the patchwork of existing State laws and local

ordinances and freeing the Secret Service from reliance on other government agencies.

Explaining the need for S. 2896, Senator McClellan stated:

        Protecting the President . . . is a formidable task for the Secret Service, which is charged
        with safeguarding the personal life of the President. As difficult as this task is, however,
        it is rendered even more difficult because the Secret Service’s present powers are
        somewhat limited. Title 18, section 3056 of the United States Code authorizes the Secret
        Service to protect the life of the President, but does little more. Consequently, the Service
        must rely upon a patchwork of State laws and local ordinances and local officers to clear
        areas for security perimeters, to provide for free ingress and egress when the President is
        visiting, and to protect the President’s private homes from trespassers.

116 Cong. Rec. 35,651 (1970) (statement of Sen. McClellan) (emphasis added).

        Similarly, Senator Hruska explained that S. 2896 was needed to empower the Secret

Service to set restricted areas:

        It would be unconscionable not to recognize the obvious fact that the President’s
        vulnerability is maximized when he is traveling or residing temporarily in another section
        of the country. It would be unconscionable not to recognize the obvious fact that the
        Secret Service does not presently possess adequate Federal authority during these most
        vulnerable occasions. This body cannot ignore the obvious responsibility and duty it has
        at this moment to create the needed protection and authority.

116 Cong. Rec. 35,653 (statement of Sen. Hruska) (emphasis added).

        Following enactment, Treasury promulgated regulations governing restricted areas under

§ 1752 in Chapter IV, part 408 of title 31 of the Code of Federal Regulations. 31 C.F.R. §§

408.1-408.3. Section 408.1 stated that “the regulations governing access to such restricted areas

where the President or any other person protected by the Secret Service is or will be temporarily

visiting are promulgated pursuant to the authority vested in the Secretary of the Treasury by 18




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U.S.C. § 1752.” 31 C.F.R. § 408.1. Part 408 provided many examples of the USSS, and no other

agency, exercising its power under § 1752 to set and define restricted areas:

    •   A temporary residence of President Reagan in California was defined by USSS using

        property law metes and bounds, § 408.2(a);

    •   For temporary residences of other Secret Service protectees, the Secret Service shall

        provide the description of restricted property, § 408.2(b);

    •   Concerning temporary offices of Secret Service protectees, the Secret Service shall

        provide to the pubic “verbal or written notice to prospective visitors at each protective

        site,” § 408.2(c).

        As for gaining lawful access to areas restricted under § 1752, Part 408 was clear that

authorization must be obtained from the Secret Service. § 408.3. No other federal agency was

mentioned in Part 408.

        In 2006, the Secret Service Authorization and Technical Modification Act of 2005,

Public Law 109-177, Title VI, Sec. 602, 120 Stat. 252 (Mar. 9, 2006), amended Section 1752 to

eliminate references to Treasury regulations. Subsection (d) of § 1752 as enacted in 1970, which

authorized the Secretary of the Treasury to issue regulations, was struck. References to

residences as “designated” were also eliminated. 2

        In 2012, § 1752 was again amended in the Federal Restricted Buildings and Grounds

Improvement Act of 2011, Public Law 112-98, Sec. 2, 126 Stat. 263 (Mar. 8, 2012).




2
  When it later repealed Part 408 of title 31 in April 2018, the Department of Homeland Security,
of which the USSS is now part, explained that, in its current form, § 1752 itself defines the
restricted areas which were previously described (in the same way) in the regulations, rendering
the latter redundant and unnecessary. Restricted Building or Grounds, 84 Fed. Reg. 18,939-
18,940 (Apr. 30, 2018) (repealing 31 C.F.R. Part 408).


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The Act’s legislative history shows that the only agency involved in enforcement of § 1752 is the

USSS. The only agency discussed by members of Congress in connection with § 1752 is the

Secret Service. 157 Cong. Rec. H 1372-1373. Members of Congress offered lectures on the

history of the Secret Service. Id. The 2012 bill’s author was Congressman Thomas Rooney of

Florida. Addressing the three restricted areas defined in § 1752(c)—the White House or Vice

President’s residence, a place where a Secret Service protectee is visiting, and special events of

national significance—Congressman Rooney simply states the Secret Service is responsible for

all three. 157 Cong. Rec. H 1372-1373 (“H.R. 347 ensures that the Secret Service has the ability

to secure all necessary areas surrounding restricted buildings and grounds that house our leaders,

their families, and foreign heads of state.”). Other representatives flatly state as obvious fact that

the Secret Service restricts areas under the statute. For example, Congressman Hank Johnson of

Georgia: “Current federal law prohibits individuals from entering or remaining in areas cordoned

off as restricted because of protection being provided by the Secret Service.” 157 Cong. Rec. H

1373. 3

                 2.      The current § 1752

          In its current version, Section 1752 criminalizes “knowingly enter[ing] or remain[ing] in

any restricted building or grounds without lawful authority to do so.” 18 U.S.C. § 1752(a)(1). It

also criminalizes,

          knowingly, and with intent to impede or disrupt the orderly conduct of Government
          business or official functions, engag[ing] in disorderly or disruptive conduct in, or within
          such proximity to, any restricted building or grounds when, or so that, such conduct, in



3
  Although not relevant to this motion, the 2012 amendment clarified that § 1752 does not apply
to people who have lawful authority to enter a restricted area; that the White House and Vice
President’s residence are restricted areas; and that the requisite mens rea is “knowingly,” not
“willfully.” 157 Cong. Rec. H 1372-1373.


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       fact, impedes or disrupts the orderly conduct of Government business or official
       functions. . .

§ 1752(a)(2).

       In turn, “restricted building or grounds” is statutorily defined. In Section 1752,

       (1) the term “restricted building or grounds” means any posted, cordoned off, or
       otherwise restricted area—

       (A) of the White House or its grounds, or the Vice President’s official residence or its
       grounds;
       (B) of a building or grounds where the President or other person protected by the Secret
       Service is or will be temporarily visiting; or
       (C) of a building or grounds so restricted in conjunction with an event designated as a
       special event of national significance;
18 U.S.C. § 1752(c)(1).
       The first two subparts of Section 1752(c) concern individuals protected by the USSS. In

subpart (A) those individuals are the President (at the White House) and the Vice President (at

his or her official residence). In subpart (B) the individual protected by the Secret Service is the

President or “other person protected by the Secret Service.” 4 Members of Congress are not

protected by the Secret Service. 18 U.S.C. § 3056(a) (setting forth persons USSS is “authorized

to protect”). Protection of Congressmen and Senators is the role of a separate federal agency, the

United States Capitol Police. The U.S. Capitol Police do not provide for the protection of Secret

Service protectees. See United States Capitol Police: Our Mission, available at:

https://www.uscp.gov/; § 3056(a).

       The final Section 1752(c) subpart concerns “a building or grounds so restricted in

conjunction with an event designated as a special event of national significance.” “Designation”


4
 The term “other person protected by the Secret Service” is also statutorily defined. It means
“any person whom the United States Secret Service is authorized to protect under section 3056
of this title or by Presidential Memorandum, when such person has not declined such
protection.” 18 U.S.C. § 1752(c)(2).
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in this subpart refers to a specific federal agency process. Major federal government or public

events that are considered to be nationally significant may be designated by the President—or his

representative, the Secretary of the Department of Homeland Security (DHS)—as National

Special Security Events (NSSE). 18 U.S.C. § 3056(e)(1). Section 3056 designates the USSS as

the lead federal agency responsible for coordinating, planning, exercising and implementing

security for NSSEs. Id. 5 Accordingly, all three subparts of 18 U.S.C. § 1752(c)(1) concern

decision-making authority or action by the Secret Service.

       Section 3056 sets forth the “Powers, authorities, and duties of United States Secret

Service.” 18 U.S.C. § 3056. Subsection (d) criminalizes interfering with agents “engaged in the

protective functions authorized by this section or by section 1752 of this title. . .” 18 U.S.C. §

3056(d) (emphasis added). Subsection (e) states, “When directed by the President, the United

States Secret Service is authorized to participate, under the direction of the Secretary of

Homeland Security, in the planning, coordination, and implementation of security operations at

special events of national significance, as determined by the President.” 18 U.S.C. § 3056(e)(1)

(emphasis added). Finally, subsection (g) stresses the independence of the Secret Service’s

mission. “The United States Secret Service shall be maintained as a distinct entity within the

Department of Homeland Security and shall not be merged with any other Department function.

No personnel and operational elements of the United States Secret Service shall report to an

individual other than the Director of the United States Secret Service, who shall report directly to




5
 The joint session of Congress that met at the U.S. Capitol on January 6, 2021, to open, certify,
and count the November 2020 presidential election votes was not designated an NSSE. National
Special Security Events: Fact Sheet, Jan. 11, 2021, p. 1, Congressional Research Service,
available at: https://fas.org/sgp/crs/homesec/R43522.pdf.



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the Secretary of Homeland Security without being required to report through any other official of

the Department.” 18 U.S.C. § 3056(g).

       D.      The Superseding Indictment and bill of particulars response

       The SI charges Mostofsky with the following offenses:

       Count One: committing, and attempting to commit, “an act” to obstruct, impede, and

interfere with “a law enforcement officer lawfully engaged in the lawful performance of his/her

official duties incident to and during the commission of a civil disorder, and the civil disorder

obstructed, delayed, and adversely affected the conduct and performance of a federally protected

function,” in violation of 18 U.S.C. § 231(a)(3).

       Count Two: corruptly obstructing, influencing, and impeding an “official proceeding,”

“that is, a proceeding before Congress, specifically, Congress’s certification of the Electoral

College vote as set out in the Twelfth Amendment of the Constitution of the United States and 3

U.S.C. §§ 15-18,” in violation of § 1512(c)(2).

       Counts Five and Six: unlawfully and knowingly entering “a restricted building and

grounds, that is, any posted, cordoned off, and otherwise restricted area within the United States

Capitol and its grounds, where the Vice President and Vice President-elect were temporarily

visiting,” in violation of § 1752(a)(1), and engaging in disorderly and disruptive conduct that in

fact disrupted the orderly conduct of government business while in that restricted area, in

violation of § 1752(a)(2). 6



6
 The SI also charges Mostofsky with purloining a “body armor vest and riot shield, which has a
value of less than $1,000.” SI, Count Four. The criminal complaint alleged that the vest was
worth over $1,900, an allegation repeated in the original indictment, making the crime an over-
$1,000 felony under § 641. ECF No. 1-1, p. 2. The basis for that claim was a price quote the
government obtained from a body armor company founded by a businessman convicted of
various hundred-million-dollar fraudulent billing schemes. David Brooks, 61, Dies Serving
Time for Insider Trading, N.Y.Times, Nov. 1, 2016, available at:
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          In its bill-of-particulars response, the government added detail to its Section 231(a)(3)

charge:

          The government intends to argue that the defendant’s actions or attempted actions that
          were intended to obstruct, impede, or interfere with any law enforcement officer
          defending and protecting the U.S. Capitol and its occupants on January 6th include:
          defendant’s act of pushing, individually or with others, against law enforcement officers
          setting up or adjusting barriers in a restricted area near the U.S. Capitol; and
          defendant’s act of positioning himself in a way to prevent law enforcement from setting
          up or adjusting barriers between themselves and rioters outside the U.S. Capitol. (Video
          recordings of defendant’s actions obstructing or attempting to obstruct officers, have been
          provided in discovery and defense has been advised of the most pertinent 30-second clips
          therein.)

ECF No. 38, p. 2 (emphasis added).

          The government specified which “federally protected function” was “adversely affected”

by the “civil disorder” on January 6:

   •      Pursuant to 2 U.S.C. § 1961, the U.S. Capitol Police is responsible for the protection of
          the United States Capitol building and its grounds. The civil disorder on January 6
          obstructed and adversely affected the protection of the building and its grounds.

   •      Pursuant to 2 U.S.C. § 1970, executive departments and executive agencies may assist
          the United States Capitol Police in the performance of its duties by providing, inter alia,
          services (including personnel) and equipment, including when requested during an
          emergency. The civil disorder on January 6 obstructed and adversely affected the
          emergency response by executive departments and executive agencies.


   •      Pursuant to 3 U.S.C. § 6, the Archivist of the United States has the responsibility to
          safeguard the electoral certificates submitted by the states. The civil disorder on January
          6 obstructed and adversely affected the maintenance of such certificates.


   •      Pursuant to 3 U.S.C. § 15, the Vice President, as President of the Senate, presides over
          the final counting of the Electoral College vote, and the Vice President is responsible for
          declaring the winner of the election. Id. (Vice President “shall announce the state of the
          vote.”). The civil disorder on January 6 obstructed and adversely affected the execution
          of the Vice President’s Constitutional and statutory duties.

https://www.nytimes.com/2016/11/02/business/david-h-brooks-dead.html. The government later
advised that the vest cost the government approximately ten times less than that quote, or about
$200, making the offense a misdemeanor. The vest was returned to the government.

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     •   Pursuant to 3 U.S.C. § 101, the term of office for President “shall, in all cases, commence
         on the 20th day of January next succeeding the day on which the votes of the electors
         have been given.” The civil disorder on January 6 obstructed and adversely affected the
         counting of the votes of the electors, that is, the federally protected function of the
         election of the President and Vice President.


     •   Pursuant to 18 U.S.C. § 3056, the United States Secret Service is authorized to protect,
         among others, the Vice President and the Vice President-elect. The civil disorder on
         January 6 obstructed and adversely affected the conduct and performance of the Secret
         Service in the performance of this federally protected function.


     •   Pursuant to 40 U.S.C. § 1315, the Department of Homeland Security has the
         responsibility to protect the buildings, grounds, and property that are owned, occupied, or
         secured by the Federal Government and persons on the property. The civil disorder on
         January 6 obstructed and adversely affected the conduct and performance of the
         Department of Homeland Security in the performance of this federally protected function.

ECF No. 38, pp. 3-4.

                                       ARGUMENT

I.       Standard for a Rule 12(b) motion to dismiss an indictment

         Rule 7 of the Federal Rules of Criminal Procedure provides that “the indictment or

information must be a plain, concise, and definite written statement of the essential facts

constituting the offense charged . . .” Fed. R. Crim. P. 7(c)(1). This rule performs several

constitutionally required functions: (1) fulfilling the Sixth Amendment right to be informed of

the nature and cause of the accusation; (2) preventing a person from being subject to double

jeopardy, as required by the Fifth Amendment; and (3) protecting against prosecution for crimes

based on evidence not presented to the grand jury, as required by the Fifth Amendment. See,

e.g., United States v. Walsh, 194 F.3d 37, 44 (2d Cir. 1999).

         Rule 12 provides that a defendant may move to dismiss the pleadings on the basis of a

“defect in the indictment or information,” including a “lack of specificity” and a “failure to state



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an offense.” Fed. R. Crim. P. 12(b)(3)(B)(iii),(v). It also permits such a motion on the basis of a

“defect in instituting the prosecution,” including “an error in the grand-jury proceeding.” Fed. R.

Crim. P. 12(b)(3)(A)(v). In the Supreme Court’s last decision to address the Rule 12 dismissal

standard, it held that an indictment must “fairly inform[] a defendant of the charge against which

he must defend” and “must be accompanied with such a statement of the facts and circumstances

as will inform the accused of the specific offence, coming under the general description, with

which he is charged.” Hamling v. United States, 418 U.S. 87, 117-18 (1974).

II.    The Section 1512(c)(2) count should be dismissed

       A.      The SI fails to state a § 1512(c)(2) offense

               1.      The Electoral College vote count did not involve the administration of
                       justice

       Count Two charges that Mostofsky attempted to, and did, obstruct, influence and impede

an “official proceeding,” namely, “Congress’s certification of the Electoral College vote as set

out in the Twelfth Amendment of the Constitution of the United States and §§ 15-18.” SI, Count

Two. The first reason this charge fails to state an offense is that the Electoral College vote in

Congress is not an “official proceeding,” as it is not one with a truth-seeking function carrying

the threat of a penalty, i.e., administering justice. There are many ways of demonstrating that

Congress intended that meaning of “proceeding” alone.

       First, every time the government has attempted to give any Chapter 73 “proceeding” a

meaning other than the business of a legal tribunal, it has failed. In United States v. Ermoian,

752 F.3d 1165 (9th Cir. 2013), for example, the government argued that an FBI investigation

qualified as an “official proceeding” under § 1512(c). The Court will notice that an FBI

investigation arguably has a greater claim to being an “official proceeding” than the Electoral




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College vote count, as it is at least an investigation. Yet the Ninth Circuit rejected the

government’s argument for the following reasons:

 •    First, Section 1512’s descriptor “official” indicates a sense of formality associated with
 “legal proceedings.” 752 F.3d at 1169 (emphasis added).

 •    Second, the word “proceeding” in § 1515(a)(1) is “surrounded with other words that
 contemplate a legal usage of the term, including ‘judge or court,’ ‘federal grand jury,’
 ‘Congress,’ and ‘federal government agency.’” Id. (emphasis added).

 •     Third, legal dictionaries define “proceeding” as “‘a word much used to express the
 business done in courts.’” Id. (quoting Black’s Law Dictionary 1241 (8th ed. 2004)) (emphasis
 original).

 •     Fourth, the “use of the preposition ‘before’ suggests an appearance in front of [a body]
 sitting as a tribunal.” Id. at 1171 (emphasis added).

 •     Fifth, “Section 1512 refers to ‘prevent[ing] the attendance or testimony of any person in
 an official proceeding’; ‘prevent[ing] the production of a record, document, or other object, in
 an official proceeding’; and ‘be[ing] absent from an official proceeding to which that person
 has been summoned by legal process.’ 18 U.S.C. § 1512(a)(1)(A)-(B), (a)(2)(B)(iv). The use
 of the terms ‘attendance,’ ‘testimony,’ ‘production,’ and ‘summon[]’ when describing an
 official proceeding strongly implies that some formal hearing before a tribunal is
 contemplated.” Id. at 1172 (emphasis added).

       The Court will notice that all of these points apply with equal force to Section

1515(a)(1)’s “a proceeding before the Congress,” and that § 1512(c) refers to the “impair[ment]

[of an] object’s integrity or availability for use in an official proceeding,” § 1512(c)(1), which

also “strongly implies that some formal hearing before a tribunal is contemplated.” Ermoian,

752 F.3d at 1172 (emphasis added).

       Equally telling is United States v. Kelley, 36 F.3d 1118 (D.C. Cir. 1994). Kelley is

significant not only because it is binding D.C. Circuit law, but because it concerned charges

under both §§ 1505 and 1512, affording an opportunity for the court of appeals to find

determinative distinctions between them, if any. The “proceeding” at issue was an investigation

conducted by the Officer of the Inspector General at the Agency for International Development.


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The first thing to notice in Kelley is that the government stipulated and agreed that § 1505’s

“proceeding” should be construed the same as § 1512’s “official proceeding.” Kelley, 36 F.3d

at 1128. That prompted the D.C. Circuit to premise part of its decision on that basis. Id. The

second thing to notice: the D.C. Circuit determined that the investigation at issue constituted a

“proceeding” because (1) other § 1505 cases cited by the D.C. Circuit involved agency

investigations “with some adjudicative power” or with “the power to enhance their investigations

through the issuance of subpoenas or warrants”; and (2) the IG in the AID investigation at issue

was “empowered to issue subpoenas and to compel sworn testimony in connection with an

investigation. . .” Kelley, 36 F.3d 1118 at 1127 (emphasis added) (citing United States v. Sutton,

732 F.2d 1483, 1490 (10th Cir. 1984) (Department of Energy investigation including issuance of

administrative subpoena was proceeding under § 1505); United States v. Vixie, 532 F.2d 1277,

1278 (9th Cir. 1976) (IRS investigation including issuance of subpoena was a proceeding under

§ 1505); United States v. Batten, 226 F. Supp. 492, 493 (D.D.C. 1964) (SEC investigation with

authority to issue subpoenas and administer oaths was “proceeding” under § 1505)). Thus, it is

binding D.C. Circuit law that Section 1512/1505 “proceedings” at the very least entail a baseline

investigation (though, as seen in Ermoian, the courts often require more than that).

       The point is underscored by the D.C. Circuit’s decision in Poindexter. As noted above,

Poindexter determined that the legislative history of § 1505 shows that it was designed to

prevent obstruction of only those proceedings held pursuant to Congress’s investigative power.

Poindexter, 951 F.2d at 380-81.

       Every other circuit decision construing a Chapter 73 “proceeding” is in accord with

Ermoian, Kelley, and Poindexter. See United States v. Ramos, 537 F.3d 439 (5th Cir. 2008)

(holding that a federal agency’s internal investigation was not a Section 1512 “official



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proceeding” because that phrase “is consistently used throughout § 1512 in a manner that

contemplates a formal environment in which people are called to appear or produce

documents”) (emphasis added); United States v. Perez, 575 F.3d 164 (2d Cir. 2009) (holding that

BOP panel investigation was a Section 1512 “official proceeding” because “the review panel

must ‘determine’ if there has been a violation of BOP policy, must make ‘findings,’ and may

‘decide’ to refer the matter to senior departmental authorities . . .”) (emphasis added).

       In response to these points, the government will argue, as it has done in other January 6

cases, that Ermoian, Kelley, Ramos and Perez must be bracketed off, as they concerned agency

proceedings, not congressional ones. The government misses the point. While Ermoian and

Ramos found no “proceeding” and Kelley and Perez did, what ties all the decisions together, and

brings the issue within the realm of reasonable argument, is a baseline investigation that is a

necessary but not sufficient condition.

       Before January 6, the government adopted Mostofsky’s interpretation of Section 1512.

To this day, the DOJ’s Resource Manual instructs prosecutors that there is no difference between

a Section 1505 “proceeding” and an “official proceeding” in Section 1512. DOJ Resource

Manual, § 1730 (“This definition [of ‘proceeding’ in § 1512] is in large part a restatement of the

judicial interpretation of the word ‘proceeding’ in § 1503 and 1505.”), available at:

https://www.justice.gov/archives/jm/criminal-resource-manual-1730-protection-government-

processes-official-proceeding-requirement. 7 Indeed, as recently as three years ago, the

government argued in federal courts that the meaning of “official proceeding” in § 1512(c) is



7
  Lest the government now attempt to steer Count Two through the loophole phrase “in large part
a restatement,” the DOJ Manual helpfully clarifies that the only difference between “proceeding”
in § 1505 and “official proceeding” in § 1512 is that the latter “does away with the pending
proceeding requirement,” which has nothing to do with the government’s argument. DOJ
Resource Manual, § 1730.
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“limited to quasi-adjudicative investigations or inquiries that involve the making of findings of

fact and the issuance of rulings or recommendations for government action.” United States v.

O’Connell, 2017 U.S. Dist. LEXIS 172491, *14 (E.D. Wisc. Sept. 5, 2017) (summarizing DOJ’s

interpretation of § 1512(c)). 8

        The government concedes the Electoral College vote count on January 6 was not an

inquiry or investigation. See, e.g., United States v. William Pepe, 21-cr-52, ECF No. 55, p. 8 n. 3

(D.D.C. 2021) (“[T]he certification of the Electoral College vote is not an ‘inquiry or

investigation.’”). 9 So, what is the government’s argument for why the Electoral College vote

count is a Section 1512 “official proceeding”?

        The government relies exclusively on the provisions of the Electoral Count Act of 1887

(ECA). SI, Count Two (citing 3 U.S.C. §§ 15-18). Congress’s role in certifying Electoral

College votes is of “grave significance,” it uncontroversially observes. The ECA’s provisions, it

adds, create a procedure for members of Congress to object to the certification of Electoral

College votes. See, e.g., 3 U.S.C. § 16. 10 So, just as a judge and legal parties occupy specific



8
 Chapter 73’s other sections betray a uniform, targeted focus on the obstruction of proceedings
related to the administration of justice. They exhibit that purpose by focusing on the
investigation affected by the obstruction. § 1510 (criminalizing interference with criminal
investigation through bribery), § 1516 (obstruction of federal audit), § 1517 (obstruction of
examination of financial institution), § 1518 (obstruction of health care investigation), § 1519
(obstruction of federal investigation through document destruction and falsification). Or by
focusing on the actor whose key role in the administration of justice has been affected by the
obstruction. §§ 1503, 1504 (jurors), § 1513 (witnesses, victims, informants), § 1521 (judges or
law enforcement officers).
9
 It could not do otherwise. Rightly, it faults the protesters for their misguided belief that Congress
had a duty to investigate “massive voter fraud” on January 6.
10
  Again, notice the ironic tension in the government’s arguments. The defendants were utterly
mistaken in their belief that the joint session could have investigated voter fraud—and yet, to
successfully prosecute them, the government inconsistently trumpets congressional authority to
object to Electoral College votes on that basis.
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locations in a courtroom, so too do members of Congress in the “Hall.” Id. The ECA, the

government continues, specifies where desks should be placed in the “Hall.” Id. In sum, the

Electoral College vote count is an “official proceeding” because of the solemnity—but also the

furniture.

        To be clear: before January 6, the government never charged “obstruction of a

congressional proceeding,” under any statute, where the “proceeding” was not an investigation or

inquiry. No court has found an “official proceeding” based on congressional solemnity and

furniture alone. The ECA procedures identified by the government do not concern the “back and

forth between citizens and government” within which zone the obstruction statutes aim to

prevent the former’s impairment of information bearing on the latter’s decision-making. United

States v. Sutherland, 921 F.3d 421, 426 (4th Cir. 2019) (Wilkinson, J.). They do not perform a

truth-seeking function carrying the threat of a penalty, i.e., they do not concern the

administration of justice. Arthur Andersen LLP v. United States, 544 U.S. 696, 703 (2005)

(“Chapter 73 of Title 18 of the United States Code provides criminal sanctions for those who

obstruct justice.”).

        So contorted are the legal arguments required to arrive at its predetermined outcome that

the government finds itself lost in its own positions. Because the Electoral College vote count

plainly does not concern obstruction “of justice,” it has fallen back on the claim that Section

1512 does not require impeding “justice,” merely obstruction of an “official proceeding.” See,

e.g., United States v. Brady Knowlton, 21-cr-46, ECF No. 41, pp. 12-13 (D.D.C. 2021) (Moss, J.)

(Government brief: “The ‘proceeding before Congress’ is not limited to proceedings solely

related to the administration of justice”). Yet it did not realize, or care, that in that case, the

Frankenstein offense it tries to create cannot be properly sentenced under the U.S. Sentencing



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Guidelines. For the Guidelines plainly indicate that a Section 1512 conviction is sentenced

under USSG §2J1.2—entitled “Obstruction of Justice.” And every single specific offense

characteristic under §2J1.2 requires interference with “the administration of justice,” §2J1.2—a

context that the government has conceded is not present in the January 6 cases. Knowlton, 21-cr-

46, ECF No. 41, pp. 12-13. 11

       There are additional problems with the government’s novel hypothesis that the Electoral

College vote certification is an “official proceeding” under the obstruction statutes. 12 The ECA

is treated by most constitutional scholars as a so-called non-binding internal House rule given

statutory form. That is for two reasons. First, under the constitutional principle of “legislative

entrenchment,” one legislature cannot bind a future legislature, i.e., purport to pass legislation

that a future Congress cannot amend. See, e.g., United States v. Winstar Corp., 518 U.S. 839,

872 (1996); INS v. Chada, 462 U.S. 919, 951 (1983) (holding that the only permissible method



11
   In a status conference, the Court asked the government for the obstruction sentencing range it
offered Mostofsky. The government responded that it was insisting that Mostofsky stipulate to
an 8-level enhancement for obstructing “the administration of justice” by “causing or threatening
to cause physical injury to a person. . .,” §2J1.2(b)(1)(B), and a 3-level enhancement for
“substantial interference with the administration of justice.” §2J1.2(b)(2). Thus does the
government insist that Mostofsky disagree with the government’s own position that this
particular “obstruction of official proceeding” does not involve “the administration of justice.”
 Similarly, a comparison of the penalty provisions in § 1505 and § 1512(c) demonstrates that
Congress could not have intended to give the latter the all-encompassing meaning pushed by the
government here. As indicated previously, Section 1505 criminalizes the obstruction of a
congressional “inquiry or investigation” by “threats or force.” § 1505. The statutory maximum
sentence is five years’ imprisonment. Id. By contrast, the statutory maximum sentence under
Section 1512(c) is 20 years’ imprisonment. § 1512(c). According to the government’s novel
interpretation of these statutes, then, Congress views obstruction of its investigations by “threats
and force” far less seriously than it does obstruction of ceremonial proceedings by means short
of “threats and force.”
12
   Whether the political question component of Article III justiciability is jurisdictional, Bancoult
v. McNamara, 445 F.3d 427, 432 (D.C. Cir. 2006), or not, Oryszak v. Sullivan, 576 F.3d 522,
527 (D.C. Cir. 2009), in either case it is not a waivable argument and may be raised at any time,
including by the Court sua sponte. Oryszak, 576 F.3d at 527.
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for legislative action is through the procedure provided in Article I, Section 7, requiring passage

by both Houses of Congress and either signature by the president or override of a presidential

veto); Entrenchment of Ordinary Legislation, A Reply to Professors Posner and Vermeule, John

C. Roberts and Erwin Chemerinsky, 91 Calif. L. Review, 1773, 1776 (2003). And, second, the

ECA purported not only to bind future Congresses with legislation but to do so on the subject of

parliamentary procedure, over each Congress’s constitutional power to set its own rules. U.S.

Const. Art. I, § 5, cl. 2 (“each House may determine the Rules of its Proceedings.”) (the

“Rulemaking Clause”). Consequently, the ECA is generally interpreted as a hortatory House

internal rule in statutory form, in order to avoid the serious constitutional questions it raises. Is

the Electoral Count Act Unconstitutional?, Vasan Kesavan, 80 N.C.L. Rev. 1653, 1793 (2002)

(most-cited analysis of ECA constitutionality among legal scholars).

       The implications of the government’s novel attempt to import the federal obstruction

statutes into Congress’s self-governing election rules, and vice versa, are enormous. Consider

the government’s claim that one “corruptly” obstructs the Electoral College vote certification by

delaying it “wrongfully.” According to the government, Democratic presidential candidate Al

Gore, and everyone who facilitated his statewide recount of Florida votes during the 2000

presidential election (co-conspirators), was guilty of obstruction of an “official proceeding.”

They are all guilty, according to the government because (1) they attempted to delay the

Electoral College vote certification by insisting on statewide recounts of ballots; and (2) they

acted “wrongfully” (thus, “corruptly”) because the recounts they engineered violated the Equal

Protection Clause rights of voters by valuing their votes less than others.’ Bush v. Gore, 531

U.S. 98, 104 (2000). Or consider the members of Congress who objected on January 6 to vote

certification for certain States. They are guilty of obstruction of an “official proceeding,” and



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they are all felons, because (1) they delayed the vote certification; and (2) they acted

“wrongfully” because, after all, there was no recognized legal basis for objecting that the vote

counts in those States were fraudulent to a degree overbalancing proper vote tallies.

       In short, the government’s interpretation of “official proceeding” (and of “corruptly,”

addressed infra) requires the Court to first answer nonjusticiable political questions. See Baker

v. Carr, 369 U.S. 186, 82 S. Ct. 691 (1962); see also Luther v. Borden, 48 U.S. 1 (1849) (holding

courts could not decide whether the defendant trespassed during an insurrection as that would

first require deciding the political question whether the Royal Charter government of Rhode

Island satisfied the Constitution’s republican form of government guarantee). The political

question doctrine is a facet of the separation of powers. Under Baker, “an issue is non-justiciable

if ‘prominent on the surface’ of that issue one finds:

       [1] a textually demonstrable constitutional commitment of the issue to a coordinate
       political department; or [2] a lack of judicially discoverable and manageable standards for
       resolving it; or [3] the impossibility of deciding without an initial policy determination of
       a kind clearly for nonjudicial discretion; or [4] the impossibility of a court’s undertaking
       independent resolution without expressing lack of the respect due coordinate branches of
       government; or [5] an unusual need for unquestioning adherence to a political decision
       already made; or [6] the potentiality of embarrassment from multifarious pronouncements
       by various departments on one question.

United States v. Rostenkowski, 59 F.3d 1291, 1304 (D.C. Cir. 1995) (quoting Baker, 369 U.S. at
217).

       The D.C. Circuit has paid particularly close attention to the political question doctrine in

cases where criminal prosecutions turn on interpretation of ambiguous House rules. “[T]he

Rulemaking Clause of Article I clearly reserves to each House of the Congress the authority to

make its own rules and judicial interpretation of an ambiguous House Rule runs the risk of the

court intruding into the sphere of influence reserved to the legislative branch under the

Constitution.” Rostenkowski, 49 F.3d at 1306. Added the D.C. Circuit, where “a court cannot be



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confident that its interpretation is correct, there is too great a chance that it will interpret the Rule

differently than would the Congress itself; in that circumstance, the court would effectively be

making the Rules—a power that the Rulemaking Clause reserved to each House alone.” Id.

        As noted, the ECA is treated as a non-binding internal House rule given statutory form, to

avoid constitutional conflict with the Rulemaking Clause and the legislative anti-entrenchment

principle. Winstar Corp., 518 U.S. at 872; Kesavan, 80 N.C.L. Rev. 1653, 1793. Moreover, as

certain Justices and many legal observers have noted over the years, the ECA’s legislative

history is littered with indications that Congress did not intend for any role for federal courts in

the interpretation of the ECA. See, e.g., Gore, 531 U.S. at 153-54 (noting that the ECA’s

legislative history “makes clear its intent to commit the power to resolve disputes [about the

meaning of ECA] to Congress,” citing House reports and congressional record) (Breyer, J.,

dissenting).

        Yet, here, the government relies, almost exclusively, on this Court imposing a judicial

gloss on the ECA’s notoriously opaque internal rule procedures, in order to establish an “official

proceeding” under Section 1512. SI, Count Two. It also relies on this Court to define

Congress’s constitutional powers and duties concerning the Electoral College vote count under

the Twelfth Amendment—an amendment so vague that Congress felt prompted to enact the (no

less vague) ECA after the scandals of the Presidential election of 1876. Congress Sowed the

Seeds of Jan. 6 in 1887: the Electoral Vote Count Act lets Congress think it can choose the

President, but it’s unconstitutional, Judge J. Michael Luttig and David B. Rivkin, Jr., Wall Street

Journal, Mar. 18, 2021, available at: https://www.wsj.com/articles/congress-sowed-the-seeds-of-

jan-6-in-1887-11616086776. Judge Luttig notes that, contrary to the government’s claim here

that the ECA demonstrates Congress’s decision-making discretion during the Electoral College



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vote count (which is supposed to show that it was an adjudicative-type “official proceeding”),

the ECA was enacted “largely to limit Congress’s role in determining which electoral votes to

accept” (emphasis added). ECA aside, the former Fourth Circuit judge adds, “The Constitution’s

Electors Clause gives state legislatures plenary authority over the manner of choosing electors

and relegates Congress to determining on what day the Electoral College would cast its votes.

The 12th Amendment, ratified in 1804, reformed the Electoral College by providing for separate

votes for president and vice president. It also reiterates the Article I, Section 1 language that the

certified state electoral results are to be transmitted to Washington, opened by the president of

the Senate, and counted in the presence of both congressional houses. No constitutional

provision empowers Congress to resolve disputes over the validity of a state’s electoral slate—or

for that matter addresses who is to resolve these disputes. Significantly, the 12th Amendment

gives Congress no power to enact legislation to enforce its provisions. . .”(emphasis added). So,

it is clear why the government relies on the ECA alone to establish its adjudicative-type “official

proceeding” point.

       Thus, the government’s “official proceeding” argument implicates the first three political

question factors under Baker: (1) there is “a textually demonstrable constitutional commitment of

the [Electoral College vote count] issue to a coordinate political department.” Baker, 369 U.S. at

217. The authority to determine the rules of Congress’s proceedings is given exclusively to

Congress under the Rulemaking Clause, not the federal courts. U.S. Const. Art. I, § 5, cl. 2. In

any case, as Judge Luttig observes, neither the Electors Clause nor the 12th Amendment

empowers Congress to resolve disputes over the validity of a state’s electoral slate. As to the

vice president’s constitutional role in the Electoral College vote certification, Vice President

Pence himself correctly pointed out that the duties of the President of the Senate were “largely



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ceremonial,” i.e., not “adjudicative,” as the government (and former president) would have it.

Ltr. of Vice President Mike Pence, Jan. 6, 2021, available at: https://bit.ly/2WVy9s0. (2) The

notoriously confusing and ambiguous ECA offers “a lack of judicially discoverable and

manageable standards for resolving” the “official proceeding” question. Baker, 369 U.S. at 217.

That is shown by the obvious mismatch between the archaic ECA procedures cited by the

government and all of the Section 1512 case law analyzed by the parties. It is also demonstrated

by the imponderables created by the government’s importation of House rules into obstruction-

of-justice jurisprudence, and vice versa, such as whether every person who delays the vote count

“wrongfully” (a hopelessly vague political question) is a felon; and (3) it is impossible to decide

the “official proceeding” question in the government’s favor “without an initial policy

determination” left to a coordinate political branch, Baker, 369 U.S. at 217, i.e., what are the

procedures permissible to Congress in counting and certifying Electoral College votes under the

Constitution and ECA? 13

       The equation of the joint session of Congress with a Chapter 73 “official proceeding”

raises additional political questions. The government centers its “official proceeding” argument

on the procedures of the joint session convened to certify Electoral College votes. Yet a full

hour before the first protester intrusion into the Capitol, the joint session had been suspended.

167 Cong. Rec. H77 (Jan. 6, 2021). That is because, shortly before 1:15 p.m. Eastern Time,

members of Congress objected to the certificate from the State of Arizona. Id. As a result, the




13
  Had the government restrained itself to charging precedented criminal offenses, such as
assault, theft, destruction of government property, D.C. trespass, and the like, there would be few
difficult legal questions. The government is forcing the Court to resolve novel legal questions
because it decided that it must prosecute virtually every protester federally and with a felony,
whether or not they committed traditional crimes like assault and property destruction.
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Vice President directed “the two Houses [to] withdraw from the joint session.” Id. (emphasis

added).




Jan. 6, 2021 Congressional Record (square symbol represents the time of day).

          What the January 6 protesters “obstructed” was not the joint session composed of both

Houses, but instead separated House deliberations on Republican objections to the Arizona

certificate. As the ECA procedures relied on by the government itself show, there was no

possibility of the separated Houses certifying, or not certifying, Electoral College votes before

reconvening in the joint session. 3 U.S.C. § 15 (“When the two Houses have [separately] voted,

they shall immediately again meet, and the presiding officer shall then announce the decision of

the questions submitted.”). The joint session appears to have reconvened at approximately 11:35

p.m. that day, with the Vice President announcing the “resumption” of the joint session:




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       The government asks the Court not only to declare the joint session an “official

proceeding” under the obstruction laws, but to find that, under the parliamentary rules of

Congress (either chamber? Both?), a joint session that “retired” and was “suspended” before, and

not as a result of, those intrusions, and that could not formally certify or decertify Electoral

College certificates, was also an “official proceeding.”

       For all of these reasons, Count Two fails to allege an offense under Section 1512(c)(2).

               2.      The government’s interpretation of § 1512(c)(2) conflicts with ejusdem
                       generis

       Beyond the government’s misunderstanding of § 1512’s “official proceeding,” there are

other reasons Count Two fails to state a Section 1512(c)(2) offense. Again, that “residual

clause” penalizes:

       Whoever corruptly—

        (1) alters, destroys, mutilates, or conceals a record, document, or other object, or attempts
to do so, with the intent to impair the object’s integrity or availability for use in an official
proceeding; or

          (2) otherwise obstructs, influences, or impedes any official proceeding, or attempts to do
so . . . shall be fined . . . or imprisoned. . .

§ 1512(c) (emphasis added).

       “[E]jusdem generis counsels: Where general words follow specific words in a statutory

enumeration, the general words are usually construed to embrace only objects similar in nature to

those objects enumerated by the proceeding specific words.” Yates v. United States, 574 U.S.

528, 545 (2015) (cleaned up). In Yates, the Supreme Court showed that the SI misapplies §

1512(c), an evidence impairment statute, to criminalize political protest at Congress.

       In Yates, a fisherman caught an undersized red grouper in the Gulf of Mexico, contrary to

federal law. To prevent federal authorities from finding out, he ordered a crew member to toss



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the catch into the sea. He was charged with an obstruction offense under § 1519, which

penalizes “Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or

makes a false entry in any record, document, or tangible object with the intent to impede,

obstruct, or influence the investigation . . .” 574 U.S. at 532 (quoting § 1519) (emphasis added).

The Supreme Court reversed Yates’ conviction as the term “tangible object” did not net the

slippery grouper. Like Section 1512(c), Section 1519 was enacted as part of the Sarbanes-Oxley

Act of 2002. 574 U.S. at 532. To apply Section 1519 to sea creatures, the Court held,

       would cut § 1519 loose from its financial-fraud mooring to hold that it encompasses any
       and all objects, whatever their size or significance, destroyed with an obstructive intent.
       Mindful that in Sarbanes-Oxley, Congress trained its attention on corporate and
       accounting deception and cover ups, we conclude that a matching construction of § 1519
       is in order: A tangible object captured by § 1519, we hold, must be one used to record or
       preserve information.

574 U.S. at 532 (emphasis added).

       Nearly every aspect of Yates’ limitation of the phrase “tangible object” in Section 1519

applies to the phrase “or otherwise obstructs, influences, or impedes” in Section 1512(c)(2). As

in Yates, the government implies here that § 1512(c)(2) “extends beyond the principal evil

motivating its passage.” 574 U.S. at 536. But Yates held that Section 1519, a companion to §

1512(c)(2) in Sarbanes-Oxley, could not be properly read outside the context of the Sarbanes-

Oxley financial and audit reforms. Id. at 541. The Court also held that “the words immediately

surrounding ‘tangible object’ in § 1519—‘falsifies, or makes a false entry in any record [or]

document]’—also cabin the contextual meaning of that term.” Id. at 542. The noscitur a sociis

canon thus operated to limit “tangible object” to “the subset of tangible objects involving records

or documents, i.e., objects used to record or preserve information.” Id. at 544. And under the

related ejusdem generis canon—“[W]here general words follow specific words in a statutory

enumeration, the general words are usually construed to embrace only objects similar in nature to


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those objects enumerated by the proceeding specific words”—“tangible object” could not be read

“to capture physical objects as dissimilar as documents and fish.” Id. at 546.

       In reaching that interpretation of § 1519, Yates relied on Begay v. United States, 553 U.S.

137, 142-43 (2008). Yates, 574 U.S. at 545. In Begay, the Court used ejusdem generis to

determine what crimes were covered by the statutory phrase “any crime . . . that . . . is burglary,

arson, or extortion, involves use of explosives, or otherwise involves conduct that presents a

serious potential risk of physical injury to another.” 553 U.S. at 142 (quoting 18 U.S.C. §

924(e)(2)(B)(ii)) (emphasis added). Begay held that the “otherwise involves” provision covered

“only similar crimes, rather than every crime that ‘presents a serious potential risk of physical

injury to another.’” Id. Had Congress intended the latter “all encompassing meaning,” “it is hard

to see why it would have needed to include the [preceding statutory] examples at all.” Id.

       Yates and Begay plainly mean that § 1512(c)(2)’s reference to acts that “otherwise

obstruct[], influence[], or impede[] any official proceeding,” covers “only similar crimes” to

those enumerated in § 1512(c)(1), i.e., “alter[ing], destroy[ing], mutilate[ing], or conceal[ing] a

record, document, or other object . . . with the intent to impair the object’s integrity or

availability for use in an official proceeding.” Had Congress intended the “or otherwise

obstructs. . .” language to create an unlimited obstruction catch-call crime, “it is hard to see why

it would have needed to include the examples [in § 1512(c)(1)] at all.” Yates, 553 U.S. at 142.

Indeed, or why it would have any need for the rest of the obstruction crimes in Chapter 73. Here,

the SI’s obstruction theory has nothing to do with the impairment of evidence. Rather, it

contends Mostofsky violated § 1512(c)(2) by virtue of his physical presence per se inside a

building.




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       That simply underscores that the government attempts to transform the parading-in-

Congress misdemeanor offense into felony obstruction. 40 U.S.C. § 5104(e)(2)(G). Section

5104(e)(2)(G) makes it a misdemeanor to “parade, demonstrate, or picket in any of the Capitol

Buildings.” Id. If Section 1512(c)(2) reaches “obstructive” conduct that has nothing to do with

evidence impairment, such as appearing in the Capitol without permission, there is no conceptual

distinction between the Title 40 misdemeanor offense carrying a 6-month sentencing maximum

and a felony Section 1512 offense—carrying a 20-year statutory maximum. For if one “parades”

or “demonstrates” inside the Capitol, one is by definition “obstructing” or “impeding” Congress.

       In response to Mostofsky’s citation to Yates-Begay, the government will cite to decisions

where courts have applied Section 1512(c)(2) to obstructive acts that “reach beyond impairment

of records.” See, e.g., See United States v. Petruk, 781 F.3d 438, 447 (8th Cir. 2015) (false

statements in a court proceeding); United States v. Volpendesto, 746 F.3d 273, 286 (7th Cir.

2014); United States v. Carson, 560 F.3d 566, 584 (6th Cir. 2009) (false testimony to a grand

jury); United States v. Phillips, 583 F.3d 1261, 1265 (10th Cir. 2009). That misses the point. As

the former U.S. attorney general himself observed, all of these decisions still concern “attempts

to prevent the flow of evidence to a proceeding.” Barr Mem., pp. 4-5 (emphasis added). That

chimes with Yates’ limitation of “tangible objects” to “one[s] used to record or preserve

information.” 574 U.S. at 532. And the SI does not allege that Mostofsky took such an action.

       The government will also contend that ejusdem generis and noscitur a sociis are only

applicable when a statute sets forth a list of specific items separated by commas and followed by

a general or collective term. It will cite to Ali v. Federal Bureau of Prisons, 552 U.S. 214

(2008). Ali is inapposite. Section 2680(c) of Title 28 provides that the U.S. government’s

waiver of sovereign immunity does not apply to claims arising from the detention of property by



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“‘any officer of customs or excise or any other law enforcement officers.’” Ali, 552 U.S. at 216

(quoting 28 U.S.C. § 2680(c)). The petitioner argued that the clause applied only to law

enforcement officers enforcing customs or excise laws. Id. Ali rejected the application of

ejusdem generis to § 2680(c) for the simple reason that there was “no list of specific items

separated by commas and followed by a general or collective term.” Id. at 225. It rejected

application of noscitur a sociis (a word is known by the company it keeps) because “although

customs and excise are mentioned [only] twice in § 2680(c), nothing in the overall statutory

context suggests that customs and excise officers were the exclusive focus of the provision.” Id.

(emphasis added).

       Here, unlike in § 2680(c), there is a “specific list of items separated by commas and

followed by a general or collective term.” Section 1512(c) provides:

Whoever corruptly—

       (1) alters, destroys, mutilates, or conceals a record, document, or other object, or
       attempts to do so, with the intent to impair the object’s integrity or availability for use in
       an official proceeding; or

       (2) otherwise obstructs, influences, or impedes any official proceeding, or attempts to do
       so . . . shall be fined . . . or imprisoned. . .

§ 1512(c) (emphasis added).

       The “specific list of items separated by commas” includes the actus reus verbs “alter,

destroy, mutilate or conceal.” They are “separated by commas.” And they are followed by the

“general or collective term” “or otherwise obstructs. . .” This list plainly establishes that

Congress “remained focused on a common attribute when it used the catchall phrase.” Ali, 552

U.S. at 225. Namely, the attribute the former U.S. attorney general identified: actions impairing

the integrity and availability of evidence in a truth-finding proceeding. Barr Mem., pp. 4-5.

Moreover, unlike in Ali, where “nothing in the overall statutory context” supported the


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petitioner’s noscitur a sociis argument, here there is nothing in Section 1512 that supports the

government’s reading of Section 1512(c) that would support an obstruction conviction for

actions having nothing to do with the integrity and availability of evidence in a truth-finding

proceeding.

       The government will also argue that a concurrence and dissent in United States v. Aguilar

supports its interpretation of Section 1512(c). Justice Scalia, the government will argue, declined

to apply ejusdem generis to the “omnibus clause” in § 1503. 514 U.S. 593, 610) (Scalia, J.,

concurring and dissenting). A glance at § 1503 shows the government’s mistake. The so-called

“omnibus clause” of Section 1503 is nothing like the provision in § 1512(c)(2). The “omnibus

clause” is emboldened below:

       Whoever corruptly, or by threats or force, or by any threatening letter or communication,
       endeavors to influence, intimidate, or impede any grand or petit juror, or officer in or of
       any court of the United States, or officer who may be serving at any examination or other
       proceeding before any United States magistrate judge or other committing magistrate, in
       the discharge of his duty, or injures any such grand or petit juror in his person or property
       on account of any verdict or indictment assented to by him, or on account of his being or
       having been such juror, or injures any such officer, magistrate judge, or other committing
       magistrate in his person or property on account of the performance of his official duties,
       or corruptly or by threats or force, or by any threatening letter or communication,
       influences, obstructs, or impedes, or endeavors to influence, obstruct, or impede, the
       due administration of justice, shall be punished . . .

§ 1503 (emboldening added).

       Aguilar attempted to argue that, under ejusdem generis, since all the rest of Section 1503

refers to actions directed at jurors and court officers, the emboldened omnibus clause could not

apply to actions directed at witnesses. 514 U.S. at 614. But as Justice Scalia noted, the

provisions in Section 1503 “only share the word ‘Whoever,’ which begins the statute, and the

penalty provision which ends it.” Id. at 615. They were in that sense “independent.” What

Justice Scalia meant is easy to see: the unemboldened first part of Section 1503 begins with the



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phrase “whoever corruptly, or by threats or force, or by any threatening letter or communication.

. .” and so does the emboldened “omnibus clause.” In stark contrast, as seen above, not only do

subsections (1) and (2) of Section 1512(c) share more than the term “whoever” (they share a

necessary element of the offense, the “corruptly” element), subsection (2)’s crime is expressly

linked to subsection (1) by the reference words “or otherwise,” indissolubly connecting the

meaning of the second subsection to the first. Thus, unlike in Section 1503, subsections (1) and

(2) of Section 1512(c) are not “independent provisions” in the sense meant by Justice Scalia’s

Aguilar concurrent/dissent.

       Recently, Judge Moss stated in a January 6 case that he was concerned by the lack of any

limiting principle in applying Section 1512(c)(2) in a way that would swallow the rest of Chapter

73. Significantly, Judge Moss raised this point sua sponte, though no party had briefed the issue

in that case. Montgomery, 21-cr-46, 8/3/21 Hr’g (D.D.C. 2021) (Moss, J.). Judge Moss is right:

the Section 1512(c)(2) charge here does not state an offense because it does not concern the

impairment or availability of evidence.

       B.      If the government’s interpretation of § 1512(c)(2) is applied, it is
               unconstitutionally vague as to Mostofsky

       A criminal statute is unconstitutionally vague if it “‘fails to give ordinary people fair

notice of the conduct it punishes, or [is] so standardless that it invites arbitrary enforcement.’”

United States v. Bronstein, 849 F.3d 1101, 1106 (D.C. Cir. 2017) (quoting Johnson v. United

States, 576 U.S. 591, 595 (2015)); see also Nat’l Ass’n of Mfrs. v. Taylor, 582 F.2d 1, 23 (D.C.

Cir. 2009) (noting that criminal statute must “‘provide adequate notice to a person of ordinary

intelligence that his contemplated conduct is illegal’”) (quoting Buckley v. Valeo, 424 U.S. 1, 77

(1976)). “[T]he touchstone is whether the statute, either standing alone or as construed, made it

reasonably clear at the relevant time that the defendant’s conduct was criminal.” United States v.


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Lanier, 520 U.S. 259, 67 (1997). “The void-for-vagueness doctrine . . . guarantees that ordinary

people have ‘fair notice’ of the conduct a statute proscribes. And the doctrine guards against

arbitrary or discriminatory law enforcement by insisting that a statute provide standards to

govern the actions of police officers, prosecutors, juries and judges.” Sessions v. Dimaya, 138 S.

Ct. 1204, 1212 (2018) (citing Kolender v. Lawson, 461 U.S. 352, 358 (1983)). In addition, if the

law at issue “interferes with the right of free speech or of association, a more stringent vagueness

test [] appl[ies].” Hoffman Estates v. Flipside, Hoffman Estates, 455 U.S. 489, 500 (1982) (citing

Papachristou v. City of Jacksonville, 405 U.S. 156 (1972)).

       Vagueness challenges are either facial or as-applied. “‘[T]he distinction between facial

and as-applied challenges . . . goes to the breadth of the remedy employed by the Court, not what

must be pleaded by the complaint.’” Edwards v. District of Columbia, 755 F.3d 886, 1001 (D.C.

Cir. 2014) (quoting Citizens United v. FEC, 558 U.S. 310, 331 (2010)).

       If the government’s novel interpretation of § 1512(c)(2) is applied here, it is

unconstitutionally vague for the following reasons.

               1.      § 1512(c)(2) does not provide fair notice that “official proceedings”
                       includes proceedings unrelated to the administration of justice

       As indicated above, § 1512(c)(2) has never been used to prosecute a defendant for the

obstruction of an “official proceeding” unrelated to the administration of justice, i.e., a

proceeding not charged with hearing evidence and making factual findings. Moreover, there is

no notice, much less fair notice, in § 1512(c)(2) or in any statute in Chapter 73 that a person may

be held federally liable for obstructing a proceeding in a way that does not interfere with the

availability or integrity of evidence. Accordingly, the government’s interpretation of §

1512(c)(2) here is void-for-vagueness as applied to Mostofsky.




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       In this case, the void-for-vagueness doctrine’s function of guarding against arbitrary or

discriminatory law enforcement is worth elaborating. As Justice Gorsuch memorably put it in a

Dimaya concurrence,

       Vague laws invite arbitrary power. Before the Revolution, the crime of treason in
       English law was so capaciously construed that the mere expression of disfavored
       opinions could invite transportation or death. The founders cited the crown’s abuse of
       ‘pretended’ crimes . . .as one of their reasons for revolution. . . Today’s vague laws may
       not be as invidious, but they can invite the exercise of arbitrary power all the same—by
       leaving the people in the dark about what the law demands and allowing prosecutors and
       courts to make it up.

138 S. Ct. at 1223-24.

       Justice Gorsuch gave some early, original examples of statutes that failed to provide fair

notice and thus led to arbitrary enforcement:

       Blackstone illustrated the point with a case involving a statute that made “stealing sheep,
       or other cattle” a felony. 1 Blackstone 88 (emphasis deleted). Because the term “cattle”
       embraced a good deal more then than it does now (including wild animals, no less), the
       court held the statute failed to provide adequate notice about what it did and did not
       cover—and so the court treated the term “cattle” as a nullity. Ibid. All of which,
       Blackstone added, had the salutary effect of inducing the legislature to reenter the field
       and make itself clear by passing a new law extending the statute to “bulls, cows, oxen,”
       and more “by name.” . . .

       This tradition of courts refusing to apply vague statutes finds parallels in early American
       practice as well. In The Enterprise, 8 F. Cas. 732, F. Cas. No. 4499 (No. 4,499) (CC NY
       1810), for example, Justice Livingston found that a statute setting the circumstances in
       which a ship may enter a port during an embargo was too vague to be applied, concluding
       that “the court had better pass” the statutory terms by “as unintelligible and useless”
       rather than “put on them, at great uncertainty, a very harsh signification, and one which
       the legislature may never have designed.” Id., at 735. In United States v. Sharp, 27 F.
       Cas. 1041, F. Cas. No. 16264 (No. 16,264) (CC Pa. 1815), Justice Washington
       confronted a statute which prohibited seamen from making a “revolt.” Id., at 1043. But he
       was unable to determine the meaning of this provision “by any authority . . . either in the
       common, admiralty, or civil law.” Ibid. As a result, he declined to “recommend to the
       jury, to find the prisoners guilty of making, or endeavouring to make a revolt, however
       strong the evidence may be.” Ibid.

       Nor was the concern with vague laws confined to the most serious offenses like capital
       crimes. Courts refused to apply vague laws in criminal cases involving relatively modest
       penalties. See, e.g., McJunkins v. State, 10 Ind. 140, 145 (1858).


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138 S. Ct. at 1226.

       The concern about vagueness-enabled arbitrary enforcement is manifested here. It takes

two forms, which might be called specific and general arbitrariness. At a general level, the

government’s enforcement of § 1512(c)(2) against Mostofsky is arbitrary because, prior to

January 6, the government had never charged “obstruction of a congressional proceeding,” under

any statute, where the “proceeding” was not an investigation or inquiry. Accordingly, the

government’s election to put a new interpretation on the statute for a select group of related cases

raises questions about discriminatory law enforcement. Those questions are only underlined by

the patently political nature of the circumstances of the offense, as well as the criminalization of

Mostofsky’s First Amendment rights to political speech, assembly, and to petition the

government for a redress of grievances. U.S. Const. amend I; Hoffman Estates, 455 U.S. at 500

(stricter scrutiny of vague statutes in the context of activities protected by the First Amendment).

       Perhaps more serious is the specific arbitrariness enabled by the government’s vague

interpretation. Hundreds of January 6 defendants entered the Capitol Building, many of whom

made statements about their intent to demonstrate against Congress inside the building. Yet

some are charged with traditional misdemeanor “parading” offenses under Title 40 carrying six-

month maximum sentences, while others are charged with felony obstruction carrying a 20-year

maximum. Take United States v. Kevin Cordon, 21-cr-277 (D.D.C. 2021). Cordon was charged

with obstruction of an official proceeding under Section 1512(c)(2). His criminal complaint

shows that he entered the Capitol Building and, after January 6, made a statement to the press

giving direct insight into his intent. Among other things, he stated, in writing, that he entered the

Capitol to “take back our democratic republic. . .We’re not going to take this lying down. . .

We’re taking our country back. This is just the beginning.” 21-cr-277, ECF No. 1-1. Although


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this “obstructive” intent is far more clearly demonstrated than anything Mostofsky said, the

government dropped its obstruction charge against Cordon. See Zoe Tillman, BuzzFeed News,

(@ZoeTillman), Twitter (Aug. 27, 2021),

https://twitter.com/ZoeTillman/status/1431264959934173197.

       Similarly, in another recent case, the Chief Judge raised questions about the supposed

conceptual difference between a misdemeanor “parading in the Capitol” offense and felony

“obstruction” of Congress. United States v. Glenn Wes Lee Croy, 21-cr-162 (D.D.C. 2021). The

government’s plea agreement with Croy, who entered the Capitol Building, concerned a

misdemeanor parading offense. But if Croy did not intend to impede Congress, Chief Judge

Howell observed, what was the purpose of the “parading, demonstrating, or picketing” inside the

Capitol Building? See Marcy Wheeler, Emptywheel, (@Emptywheel), Twitter (Aug. 9, 2021),

https://twitter.com/emptywheel/status/1424732173068914694. The Chief Judge was right.

Only, the implication is not that the tradition misdemeanor offense should yield to the newly

created felony, but that the latter is merely a misdemeanor masquerading as a felony.

       Insofar as it alleges that Mostofsky obstructed a type of “official proceeding” nowhere

identified in §§ 1512(c)(2) and 1515 and alleges a crime conceptually indistinguishable from a

misdemeanor parading offense, Count Two must be dismissed under the Due Process Clause of

the Fifth Amendment.

               2.      The government’s interpretation of “corruptly” fails this Circuit’s
                       Poindexter test

       In United States v. Poindexter, a former U.S. national security advisor was charged under

§ 1505 for obstructing a congressional investigation into the Iran/Contra affair. 951 F.2d 369,

371 (D.C. Cir. 1991). The defendant’s obstruction consisted of lying to or misleading Members

of the House and Senate Intelligence Committees about U.S. shipments of missiles to Iran. Id. at


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372. The relevant passage of § 1505 provided, “Whoever corruptly . . . . influences, obstructs, or

impedes or endeavors to influence, obstruct or impede . . .the due and proper exercise of the

power of inquiry under which any inquiry or investigation is being had by either House, or any

committee of either House . . .shall be [punished]. . .” The court held that Poindexter’s lying to

Congress, while a violation of § 1001, was not an obstruction offense under § 1505.

       The D.C. Circuit arrived at that conclusion in the following way. First, it determined that

the adverb “corruptly” was vague. 951 F.2d at 379 (“Words like ‘depraved,’ ‘evil,’ ‘immoral,’

‘wicked,’ and ‘improper’ are no more specific—indeed they may be less specific—than

‘corrupt.’”). Searching for a way out of the mess, the court observed that the verb “corrupt”

“may be used transitively (‘A corrupts B,’ i.e., ‘A causes B to act corruptly’) or intransitively (‘A

corrupts,’ i.e., ‘A becomes corrupt, depraved, impure, etc.’).” 951 F.2d at 379. It similarly

determined that § 1505’s adverb “corruptly” could take on either a transitive or intransitive

meaning. Accordingly, to avoid the unconstitutional vagueness in a value-laden interpretation

(e.g., “immoral”), the court decided that § 1505 “favor[ed] the transitive reading.” Id. Thus, the

Poindexter court construed § 1505 “to include only ‘corrupting’ another person by influencing

him to violate his legal duty.” Id. The court further found that even that definition of “corruptly”

may suffer from unconstitutional vagueness where the defendant’s purpose is not “to obtain an

improper advantage for himself or someone else. . .” Id. at 385. The court gave this example of

congressional activity the adverb “corruptly” may not cover without vagueness problems:

       [S]omeone who influences another to violate his legal duty [but] to cause the enactment
       of legislation that would afford no particular benefit to him or anyone connected to him.
       Or, as the Chief Judge instanced at the oral argument of this case, there “would be some
       purposes that would be corrupt and some that wouldn’t be . . . Suppose the [defendant
       acted] to protect the historical reputation of some historical figure that has been dead for
       20 years and he decides that he doesn’t want to mar that person’s reputation.”

Poindexter, 951 F.2d at 386.


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       As indicated above, following Poindexter Congress amended § 1515 to clarify that “As

used in Section 1505, the term ‘corruptly’ means acting with an improper purpose, personally or

by influencing another, including making a false or misleading statement, or withholding,

concealing, altering or destroying a document or other information.” § 1515(b) (emphasis

added). However, Congress did not amend § 1515 to define “corruptly” as used in § 1512. In

addition, the phrase “improper purpose” was held unconstitutionally vague in Poindexter. 951

F.2d at 379 (“Words like ‘depraved,’ ‘evil,’ ‘immoral,’ ‘wicked,’ and ‘improper’ are no more

specific—indeed they may be less specific—than ‘corrupt.’”).

       Poindexter is still good law in this circuit. United States v. Morrison, 98 F.3d 619, 630

(D.C. Cir. 1996) (affirming § 1512 conviction precisely because the defendant had committed

“transitive” corruption in the Poindexter sense by persuading a witness to violate their legal duty

to testify truthfully in court); see also United States v. Kanchanalak, 37 F. Supp. 2d 1, 4 (D.D.C.

1999) (Friedman, J.) (finding that even after Congress amended § 1515 in the wake of

Poindexter to define “corruptly” for purposes of § 1505, § 1515’s definition of “corruptly” to

mean acting with an “improper purpose” is still unconstitutionally vague under Poindexter).

       More broadly, the most widely accepted definition of “corrupt” intent, as understood in

the obstruction statutes, is acting with the intent to obtain an improper advantage for oneself or

an associate. United States v. North, 910 F.2d 843, 882, 285 U.S. App. D.C. 343 (D.C. Cir.

1990), opinion withdrawn and superseded in other part on reh'g, 920 F.2d 940, 287 U.S. App.

D.C. 146 (D.C. Cir. 1990) (holding that a “corrupt” intent means “the intent to obtain an

improper advantage for oneself or someone else. . .”); United States v. Kelly, 147 F.3d 172, 176

(2d Cir. 1998) (“[A] well-accepted definition of corruptly” is “to act with the intent to secure an

unlawful advantage or benefit either for one’s self or for another”); United States v. Dorri, 15



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F.3d 888, 895 (9th Cir. 1994) (holding that “corruptly” element was satisfied by evidence that

defendant acted “with a hope or expectation of [a] benefit to one’s self”); United States v.

Popkin, 943 F.2d 1535, 1540 (11th Cir. 1991) (“Corruptly” means “done with the intent to

secure an unlawful benefit either for oneself or another”); United States v. Reeves, 752 F2d 995,

1001 (5th Cir. 1985) (“To interpret ‘corruptly’ [in obstruction statute] as meaning ‘with an

improper motive or bad or evil purpose’ would raise the potential of overbreadth’ in this statute

because of the chilling effect on protected activities. . . Where ‘corruptly’ is taken to require an

intent to secure an unlawful advantage or benefit, the statute does not infringe on first

amendment guarantees and is not ‘overbroad.’”); CORRUPTLY, Black’s Law Dictionary 345

(6th ed. 1990) (acting with “a wrongful design to acquire some pecuniary or other advantage”);

CORRUPTLY, Ballentine’s Law Dictionary 276 (3d ed. 1969) (acting with the “intent to obtain

an improper advantage for oneself or someone else, inconsistent with official duty and the rights

of others).

        In the January 6 cases, the government has made clear that by “corruptly” it means

nothing more than “wrongfully.” See, e.g., United States v. Nordean, 21-cr-175, ECF No. 130, p.

8 (D.D.C. 2021)—a term it declines to define with any precision. As Judge Moss recently

observed, that is almost certainly unconstitutionally vague in this circuit under Poindexter and

North. Poindexter, 951 F.2d at 379. And as Mostofsky noted above, a definition as vacuous as

“wrongfully” would, among other things, render Al Gore a felon for organizing vote recounts in

the 2000 presidential election, as it ultimately proved to “wrongfully” deprive voters of their

equal protection rights. The government’s interpretation also contributes to the collapse of any

distinction between a misdemeanor parading-in-Congress offense and felony obstruction of an




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official proceeding, as its understanding of “corruptly” means nothing more than the intent to

impede.

       Because the SI does not allege that Mostofsky “obstructed” the joint session by

‘corrupting’ another person by influencing him to violate his legal duty,” Poindexter, 951 F.2d at

385, or that Mostofsky somehow acted to gain a material advantage for himself or an associate, it

either fails to state a Section 1512(c) offense or alleges an unconstitutionally vague one.

       C.      The rule of lenity dictates that any ambiguities in § 1512(c)(2) be resolved in
               Mostofsky’s favor

       Even if § 1512(c)(2) is not unconstitutionally vague as applied to Mostofsky, any

ambiguities in the statute should be resolved in his favor under the rule of lenity. Under that

principle, “where text, structure, and history fail to establish that the government’s position is

unambiguously correct,” courts must “apply the rule of lenity and resolve the ambiguity in [the

defendant’s] favor.” United States v. Granderson, 511 U.S. 39, 54 (1994). “When interpreting a

criminal statute, we do not play the part of a mindreader.” United States v. Santos, 553 U.S. 507,

515 (2008) (Scalia, J.). “In our seminal rule-of-lenity decision, Chief Justice Marshall rejected

the impulse to speculate regarding a dubious congressional intent. ‘Probability is not a guide

which a court, in construing a penal statute, can safely take.’” Id. (quoting United States v.

Wiltberger, 18 U.S. 76 (1820)).

       Here, even if the Court decides that the government’s interpretation of § 1512(c)(2) is

correct—i.e., that “official proceedings” of Congress include those which are not held pursuant

to its investigatory power, that § 1512(c)(2) applies outside the context of the impairment of

evidence, and that “corruptly” includes a disinterested but mistaken purpose—it is plainly not

unambiguously so. That is shown by the lack of any case law supporting the government’s




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interpretations, by the legislative history which tells against those interpretations, and by the text

and structure not just of § 1512(c) but of all sections of Chapter 73.

        Because the government’s interpretations are not unambiguously correct, the Court is

required to resolve any ambiguities in Mostofsky’s favor by dismissing Count Two.

Granderson, 511 U.S. at 54; Santos, 553 U.S. at 515.

       D.      The novel construction principle of the Due Process Clause requires rejection
               of the government’s interpretation, which would operate as an ex post facto
               law

       Because no court has construed § 1512(c)(2) as the government does in this case, to apply

that novel construction against Mostofsky in this matter would violate the novel construction

principle of the Due Process Clause of the Fifth Amendment.

       The Supreme Court has held that the novel construction principle is similar to an ex post

facto law which has been described as one “that makes an action done before the passing of the

law, and which was innocent when done, criminal; and punishes such action.” Bouie v. City of

Columbia, 378 U.S. 347, 353 (1964). “[A]n unforeseen judicial enlargement of a criminal

statute, applied retroactively, operates precisely as an ex post facto law, such as Art. I, § 10, of

the Constitution forbids.” Id. If a “legislature is barred by the Ex Post Facto Clause from

passing such a law, it must follow that a [court] is barred by the Due Process Clause from

achieving precisely the same result by judicial construction.” Id.

       Bouie also concerned a trespass prosecution that gave indications of being politically

motivated. The 1964 case involved a combination drugstore and restaurant in South Carolina.

The establishment would not serve black Americans. Two black college students took seats in

the restaurant. After they entered, an employee hung up a “no trespass” sign. The store manager

called the police, who asked the students to leave. When they refused, they were arrested and



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charged with trespass. The students were tried and convicted, with the State Supreme Court

upholding the trespass convictions. The Supreme Court vacated the convictions based on the

novel construction principle of the Due Process Clause. It reasoned that the South Carolina

Supreme Court’s construction of the trespass statute was effectively an ex post facto law. By its

terms, the state statute merely prohibited “entry upon the lands of another . . .after notice from

the owner . . prohibiting such entry. . .” 378 U.S. at 355 (emphasis added). However, there “was

nothing in the statute to indicate that it also prohibited the different act of remaining on the

premises after being asked to leave. Petitioners did not violate the statute as it was written; they

received no notice before entering either the drugstore or the restaurant department.” Id.

(emphasis added). Finally, “the interpretation given the statute by the South Carolina Supreme

Court . . . ha[d] not the slightest support in prior South Carolina decisions.” Id. at 356.

        So too here. Mostofsky did not “violate the statute as it was written.” Bouie, 378 U.S. at

355. Section 1512 prohibits obstruction of “official proceedings” which all courts have

construed to mean proceedings before a tribunal that mimic a court of law. There is “nothing in

the statute to indicate that it also prohibited the different act,” Bouie, 378 U.S. at 355, of

interfering with proceedings that do not hear evidence or find facts. “The interpretation given

the statute by the [government] . . . has not the slightest support in prior [§ 1512] decisions.” Id.

        Accordingly, the novel construction principle requires rejection of the government’s

interpretation, which would operate as an ex post facto law in violation of the Due Process

Clause of the Fifth Amendment.

        E.      The SI’s application of § 1512(c)(2) is invalid under the First Amendment,
                as applied to Mostofsky

        As the government acknowledges, Mostofsky’s activities on January 6 included political

expression, assembly and petitioning of the government for a redress of grievances. U.S. Const.

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amend. I. Insofar as the § 1512(c)(2) charge characterizes protest per se as obstruction of

congressional proceedings, it is an unconstitutional application of the statute as applied to

Mostofsky.

       To prevail on an as-applied challenge under the First Amendment, Mostofsky must

merely show that § 1512(c)(2) is being unconstitutionally applied as to the specific protected

activity for which he is charged. Edwards v. Dist. of Columbia, 755 F.3d 996, 1001 (D.C. Cir.

2014). The first question is whether Mostofsky’s alleged conduct was “expressive.” Texas v.

Johnson, 491 U.S. 397, 404 (1989). “[T]o bring the First Amendment into play,” Mostofsky

must merely show “[a]n intent to convey a particularized message was present” and “the

likelihood . . . that the message would be understood by those who viewed it.” Id. Next, the

court assesses whether the challenged statute is related in any way to the suppression of free

expression. If so, and if the law is content-neutral, the court must subject the statute to

intermediate scrutiny. Edwards, 755 F.3d at 1002. Under that standard, the statute is

constitutionally applied only if (1) “it is within the constitutional power of the government”; (2)

“it furthers an important or substantial governmental interest”; (3) “the governmental interest is

unrelated to the suppression of free expression”; and (4) “the incidental restriction on alleged

First Amendment freedoms is no greater than is essential to the furtherance of that interest.”

United States v. O’Brien, 391 U.S. 367, 377 (1968).

       Here, there is no argument that the conduct charged under § 1512(c)(2) was not protected

expression. The entire thrust of the § 1512(c)(2) offense is that Mostofsky and others protested

at the Capitol concerning the results of the 2020 presential election. That is the very core of the

First Amendment. A fur pelt sends a message. See, e.g., Johnson, 491 U.S. at 404 (flag burning

expressive); Tinker v. Des Moines Ind. Comm. School. Dist., 393 U.S. 503, 505 (1969) (students



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wearing black armbands to protest war is expressive); Brown v. Louisiana, 383 U.S. 131, 141-

142 (1966) (sit-in to protest segregation expressive); United States v. Grace, 461 U.S. 171 (1983)

(picketing is expressive). See also Snyder v. Phelps, 562 U.S. 443, 444 (2011) (“A statement’s

arguably inappropriate or controversial character . . . is irrelevant to the question [of] whether it

deals with a matter of public concern.”).

       Similarly, there is no argument that § 1512(c)(2)’s application here is unrelated to the

suppression of expression, assembly and the petitioning of the government for a redress of

grievances. Again, the thrust of the obstruction claim is that Mostofsky and the other defendants

intended to affect the actions of Congress: otherwise known as political demonstration and

protest. Critically, the government’s obstruction claim is not limited to any alleged intent to

enter the Capitol and to affect congressional action by force or threats. SI, Count Two. After

all, the government could have attempted to charge such an offense under § 1505, prohibiting

obstruction of Congress’s investigatory powers by force or threats. The SI does not charge that

offense and its obstruction theory encompasses the very act of protesting to affect congressional

action itself. Accordingly, § 1512(c)(2) is here “related to the suppression of free expression.”

See, e.g., United States v. Caputo, 201 F. Supp. 3d 65, 71 (D.D.C. 2016) (restricted area statute

“related to the suppression of free expression” where charged defendant jumped White House

fence to protest executive action).

       Accordingly, under an intermediate scrutiny test, the Court applies the O’Brien factors to

determine the constitutionality of § 1512(c)(2)’s application here. The following two factors

show that the statute’s application here is patently unconstitutional: (1) the government’s interest

is related to the suppression of free expression; and (2) the incidental restriction on First

Amendment freedoms is greater than is essential to the furtherance of that interest. O’Brien, 391



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U.S. at 377. As explained, that the § 1512(c)(2) theory in this case is not limited to an attempt to

influence Congress by threats or force can only mean that it covers acts that influence Congress

through protest and demonstration. Moreover, nothing in the SI cabins Mostofsky’s

“obstruction” to the act of entry into the Capitol Building. (In the January 6 cases, the

government has charged many with felony “obstruction of Congress” who did not enter the

Capitol.) If his “obstruction” encompasses protest outside the Capitol Building, the government

is criminalizing not just his expression, but the expression of every group that politically

demonstrates outside that building with a view to affecting, or “obstructing,” legislation.

Second, that restriction is far greater than is “essential” to the furtherance of the government’s

legitimate interest in preventing obstruction of official proceedings of Congress. For the

government could adequately protect that interest merely by preventing obstruction of Congress

“by threats or force”—i.e., using the proper statute for the crime it is failing to allege, 18 U.S.C.

§ 1505—or at the very least by preventing obstruction of Congress through unlawful entry into

the building. City of Houston v. Hill, 482 U.S. 451, 459 (1987) (“[W]e have repeatedly

invalidated laws that provide the police with unfettered discretion to arrest individuals for words

or conduct that annoy or offend them.”). Accordingly, the SI’s overbroad charge against

Mostofsky under § 1512(c)(2) unconstitutionally infringes on his First Amendment rights and

should be dismissed.

III.   The Section 231(a)(3) count should be dismissed

       A.      The government does not allege a “federally protected function”

       To establish Mostofsky is guilty of a Section 231(a)(3) offense, the government must

allege and prove beyond a reasonable doubt that the “civil disorder” on January 6 had an adverse

effect on a “federally protected function,” § 231(a)(3), as the government disclaims any reliance



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on interstate commerce in the January 6 cases. None of the entities listed in the government’s

bill-of-particulars response is a “federally protected function.” Even if one were, it was not

properly presented to the grand jury.

       “Federally protected function” is defined as any “function, operation or action carried out

. . . by any department, agency, or instrumentality of the United States or by an officer or

employee thereof.” 18 U.S.C. § 232(3) (emphasis added). Section 6 of Title 18 defines

“department” and “agency” for the title:

       The term “department” means one of the executive departments enumerated in section 1
       of Title 5, 14 unless the context shows that such term was intended to describe the
       executive, legislative, or judicial branches of the government.

       The term “agency” includes any department, independent establishment, commission,
       administration, authority, board or bureau of the United States or any corporation in
       which the United States has a proprietary interest, unless the context shows that such
       term was intended to be used in a more limited sense. 15

18 U.S.C. § 6.

       The Supreme Court has held that Section 6’s definition of “department” as “one of the

executive departments enumerated in section 1 of Title 5” presumptively controls any Title 18

statute’s use of that term unless the government makes a “fairly powerful” “showing” that

Congress intended, in the statute at issue, that “department” should refer to the “legislative, or

judicial branches of government,” which the Court held was the “unusual sense” of the term.



14
  The Executive Departments enumerated in section 1 of Title 5 are: The Department of State;
The Department of Treasury; The Department of Defense; The Department of Justice; The
Department of the Interior; The Department of Agriculture; The Department of Commerce;
The Department of Labor; The Department of Health and Human Services; The Department of
Housing and Urban Development; The Department of Transportation; The Department of
Energy; The Department of Education; The Department of Veterans Affairs; and
The Department of Homeland Security. 5 U.S.C. § 101.
15
  “Executive agency” is defined as “an Executive department, a Government corporation, and an
independent establishment.” 5 U.S.C. § 105.
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Hubbard v. United States, 514 U.S. 695, 700 (1995). In Hubbard, a man was convicted under a

now-superseded version of § 1001 that punished “‘Whoever, in any matter within the jurisdiction

of any department or agency of the United States knowingly and willfully . . . makes any false,

fictitious or fraudulent statements. . .’” 514 U.S. at 698 (quoting § 1001) (emphasis added). The

man had filed false records in a bankruptcy court. The lower courts upheld his conviction on the

ground that such a court was a “department . . .of the United States,” in the sense that the

executive, legislative and judicial branches of government were sometimes referred to as

“departments” in the 18th century. Id. Not only did the Supreme Court reverse his conviction

on the ground that this interpretation of “department” was inconsistent with § 6, it overruled its

own prior contrary precedent notwithstanding the gauntlet of stare decisis. 514 U.S. at 701.

       Applying the Hubbard rule, the D.C. Circuit has held that congressional entities do not

satisfy Section 6’s “department” and “agency” “of the United States” because they are not

executive departments and agencies. See United States v. Oakar, 111 F.3d 146, 153 (D.C. Cir.

1997) (after Supreme Court’s decision in Hubbard, “an entity within the Legislative Branch

cannot be a ‘department’ within the meaning of § 1001 and 18 U.S.C. § 6,” nor is Congress an

“agency” under § 6); United States v. Dean, 55 F.3d 640, 659 (D.C. Cir. 1995) (reversing

convictions under § 1001 for false statements to Congress, as Hubbard “narrowed the reach of

[“department” and “agency”] to matters within the executive branch”) (emphasis added). See

also Trump v. Deutsche Bank AG, 943 F.3d 627, 645 (2d Cir. 2019) (applying Hubbard and § 6

and holding that the Right to Financial Privacy Act’s reference to a “department or agency” does

not apply to Congress) rev’d and remanded on other grounds sub. nom. Trump v. Mazars USA

LLP, 140 S. Ct. 2019 (2020); United States v. Perraud, 672 F. Supp. 2d 1328, 1344 n. 4 (S.D.

Fla. 2009) (Congress neither a “department” nor an “agency”).



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       Beyond those decisions, Title 18 distinguishes between congressional entities, on the one

hand, and “departments” or “agencies” “of the United States,” on the other. Consistent with

Hubbard-Oakar-Dean, the latter always lie “within the executive branch.” See, e.g., 18 U.S.C.§

1505 (distinguishing between obstruction of congressional proceedings and “proceeding[s] . . .

before any department or agency of the United States. . .”).

       Against that backdrop, the government’s bulleted list of “federally protected functions”

fails as a matter of law for the following reasons:

•       U.S. Capitol Police. The USCP is not a “federally protected function” for several
reasons. First, USCP is not an executive department or agency. It is operated by the Capitol
Police Board, which is composed solely of congressional not executive entities, see Capitol
Police Board, U.S. Capitol Police, https://www.uscp.gov/the-department/oversight/capitol-
police-board. One of the federal statutes cited in the government’s particulars response explicitly
states that USCP is not an executive department or agency. 2 U.S.C. § 1970. Second, the USCP
are among the “law enforcement officers” the government alleges Mostofsky “interfered” with
under § 231(a)(3) during the “civil disorder.” If the USCP are also the “federally protected
function”— i.e., the police are both the protecting function and the function that is protected—
the term “federally protected function” adds nothing to the meaning of § 231(a)(3). Statutes
must be construed to avoid surplusage. See, e.g., Indep. Ins. Agents of Am., Inc. v. Hawke, 211
F.3d 638, 644 (D.C. Cir. 2000); United States v. Rupert, 2021 U.S. Dist. LEXIS 53152, *43 (D.
Minn. Jan. 6, 2021) (Had the government not been relying alternatively on interstate commerce
in that case, the court would have dismissed the Section 231(a)(3) charges because the
government merely pointed to law enforcement officers, not a “federally protected function”).

•       “Executive departments and agencies.” The government cites 2 U.S.C. § 1970, which
states that executive departments and agencies “may assist the United States Capitol Police in the
performance of its duties by providing services . . .” § 1970(a)(1). But it does not identify the
“function, operation, or action carried out” by any “executive department or agency” on January
6 that was adversely affected by the civil disorder. § 232(3). And, again, if the executive
department or agency at issue is a “law enforcement agency,” the government’s interpretation of
Section 231(a)(3) is tautological.

•       Archivist of the United States. The government states, “pursuant to 3 U.S.C. § 6, the
Archivist of the United States has the responsibility to safeguard the electoral certificates
submitted by the states.” ECF No. 38, p. 3. However, Section 6 does not actually say that.
Rather, it states that the Archivist has the duty to transmit to Congress “copies in full” of the
certificates, which need not entail “safeguarding” them, whatever the government may mean by
that. (Same-day mail and email now exist, unlike in 1887.) § 6. In any case, the Archivist is the
administrator for the National Archives and Records Administration which is neither an
executive “department” nor an “agency” under 18 U.S.C. § 6, and the government does not

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explain how the certificates were adversely affected by the civil disorder; it merely states a legal
conclusion.

•      The President of the Senate. The government notes the Vice President’s role as
President of the Senate under the ECA. It is not clear what argument the government intends to
make, as the Senate is not a “department, agency or instrumentality of the United States” under
18 U.S.C. § 6, even assuming the President of the Senate could be characterized as an “officer”
or “employee” thereof. § 232(3). Dean, 55 F.3d at 659.

•       Commencement of term of office statute. The government cites the statute stating that
the term of office for President “shall, in all cases, commence on the 20th day of January next
succeeding the day on which the votes of the electors have been given.” 3 U.S.C. § 101. The
“function” described in § 101 is that the President and Vice President’s term shall begin on
January 20. But the government does not argue that the “civil disorder” adversely affected that
function. Rather, it alleges that the disorder “affected the counting of the votes of the electors,”
which is not the “function” in § 101; the joint session resumed on January 6. SI, Count Two.

•        The Secret Service. Officers of the U.S. Secret Service, like that of the U.S. Capitol
Police, are “law enforcement officers” under § 232(7). See 18 U.S.C. § 3056(b)(3), (d)
(describing USSS as a “law enforcement agency”). The government alleges the USSS were
“engaged in the enforcement . . . of criminal laws of the United States,” § 232(7), on January 6
because the government alleges that protesters breached a “restricted area” under § 1752, which
it is the duty of the USSS to enforce. § 3056(d). As explained above, if the USSS are also the
“federally protected function,” the term “federally protected function” adds nothing to the
meaning of § 231(a)(3). Hawke, 211 F.3d at 644 (statutes must be construed to avoid
surplusage); Rupert, 2021 U.S. Dist. LEXIS 53152, *43.

•       Department of Homeland Security (DHS). The government represents that DHS had
the responsibility to protect the Capitol and its grounds on January 6, pursuant to 40 U.S.C. §
1315 and that was a “federally protected function.” First, that is not accurate. The USCP are
designated with the statutory duty to protect the Capitol and its grounds, not DHS. 2 U.S.C. §
1961(a). Second, the government does not specify what DHS agency it is referring to, or how it
was adversely affected, but if it is a “law enforcement agency,” that would not identify a
“federally protected function” because that reading of Section 231(a)(3) is tautological. Rupert,
2021 U.S. Dist. LEXIS 53152, *43.

       Besides not satisfying the definitions of “department” and “agency” in § 6, the above list

suffers from another flaw. As indicated above, the “civil disorder’s” “adverse effect” on a

“federally protected function” is an element of the SI’s § 231(a)(3) charge. That means the

government was required to establish probable cause of a “federally protected function” to the

grand jury to satisfy the Fifth Amendment’s presentment requirement. U.S. Const. amend. V;


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Apprendi v. New Jersey, 530 U.S. 466, 500-18 (2000) (Thomas, J., concurring) (discussing cases

and treatises since the 1840s, which repeatedly emphasize the importance of including every

element in an indictment); Jones v. United States, 526 U.S. 227, 243 n.6, 119 S. Ct. 1215, 143 L.

Ed. 2d 311 (1999) (holding that “under the Due Process Clause of the Fifth Amendment and the

notice and jury trial guarantees of the Sixth Amendment, any fact (other than prior conviction)

that increases the maximum penalty for a crime must be charged in an indictment, submitted to a

jury, and proven beyond a reasonable doubt”); United States v. Pupo, 841 F.2d 1235, 1239 (4th

Cir. 1988) (en banc) (“It is well established that an indictment is defective if it fails to allege

elements of scienter that are expressly contained in the statute that describes the offense.”). Thus,

“[a]s a general rule, criminal proceedings were submitted to a jury after being initiated by an

indictment containing ‘all the facts and circumstances which constitute the offence, . . . stated

with such certainty and precision, that the defendant . . . may be enabled to determine the species

of offence they constitute, in order that he may prepare his defence accordingly . . . and that there

may be no doubt as to the judgment which should be given, if the defendant be

convicted.’” Apprendi, 530 U.S. at 478 (quoting J. Archbold, Pleading and Evidence in Criminal

Cases 44 (15th ed. 1862)); see also United States v. Daniels, 973 F.2d 272, 274 (4th Cir.

1992) (“This court, sitting en banc, has left no room for doubt as to the law in this circuit

concerning the requirements of a constitutionally adequate indictment. Every essential element

of an offense must be charged in the body of an indictment, and the inclusion of a reference to

the statute will not cure the failure to do so.”).




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       Here, the only entity in the above list that the government even arguably presented to the

grand jury as a “federally protected function” was the USCP. 16 As explained above, the USCP is

not an executive “department” or “agency” “of the United States.” But it is almost certainly the

case that the government did not even present the USCP as the “federally protected function.”

For every single criminal complaint charging a § 231(a)(3) offense on the DOJ’s January 6

website states that the “federally protected function” was this: the joint session of Congress.

Capitol Breach Cases, DOJ, available at: https://www.justice.gov/usao-dc/capitol-breach-cases.

Hubbard-Oakar-Dean show that Congress is not a “department” or “agency” “of the United

States.”

       To the extent the government claims that any other entity was presented to the grand jury

as a “federally protected function,” it should produce that evidence in response to Mostofsky’s

motion to compel or provide it to the Court for review in camera. Because Congress/USCP are

not an executive department or agency, the government has not alleged, and did not present to

the grand jury, a “federally protected function” that was “adversely affected” by the “civil

disorder.” Accordingly, the Section 231(a)(3) offense must be dismissed for failure to state an

offense and for a grand jury error.

       B.      Section 231(a)(3) exceeds Congress’s Commerce Clause authority

       Whether or not the government now attempts to rely on interstate commerce, the Section

231(a)(3) offense must be dismissed because Congress lacked the constitutional power to

legislate. The Commerce Clause prohibits the criminalization of noneconomic intrastate activity

unless “the regulated activity ‘substantially affects’ interstate commerce.” United States v. Lopez,




16
  When Mostofsky asked which of the bulleted entities was presented to the grand jury, the
government responded with a declaration describing the USCP’s activities on January 6.
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514 U.S. 549, 559 (1995). Under that test, the Supreme Court has invalidated federal criminal

laws prohibiting gun possession in a school zone and domestic violence in the Violence Against

Women Act. Lopez, 514 U.S. at 552-64; United States v. Morrison, 529 U.S. 598, 607-19

(2000). Following Lopez and Morrison, § 231(a)(3) constitutes an unconstitutional exercise of

Congress’s power, intruding into the State’s constitutionally protected police power, because it

regulates strictly local conduct and demonstrates no substantial connection to interstate

commerce.

               1.      The police power and the Commerce Clause’s prohibition on Congress’s
                       regulation of intrastate activity that does not “substantially affect”
                       interstate commerce

       “Under our federal system, the States possess primary authority for defining and

enforcing the criminal law.” Lopez, 514 U.S. at 561 n. 3 (internal quotation marks omitted).

Accordingly, the Supreme Court in Lopez concluded that, in the criminal context, Congress’s

“power . . . [t]o regulate Commerce with foreign Nations, and among the several States[,]” under

Article I, § 8, cl.3, is inherently limited by the Tenth Amendment’s reservation of police power

to the States. The limited federal commerce power permits Congress to regulate only three

categories of activity: (1) “the use of the channels of interstate commerce;” (2) “the

instrumentalities of interstate commerce, or persons or things in interstate commerce;” and (3)

“those activities that substantially affect interstate commerce.” Id. (emphasis added).

       The Supreme Court developed the third Lopez category in order to define “the outer

limits” on Congress’s authority to enact legislation “regulating intrastate economic activity” that

“substantially affect[s] interstate commerce.” Lopez, 514 U.S. at 559; see also United States v.

Robertson, 514 U.S. 669, 671 (1995) (“The ‘affecting commerce’ test was developed in our




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jurisprudence to define the extent of Congress’ power over purely intrastate commercial

activities that nonetheless have substantial interstate effects”) (emphasis in original). The

regulated activity must “substantially affect” interstate commerce because “[t]he regulation and

punishment of intrastate violence that is not directed at the instrumentalities, channels, or goods

involved in interstate commerce has always been the province of the States.” Morrison, 529 U.S.

at 618.

          In Morrison, the Supreme Court established a “controlling four-factor test for

determining whether a regulated activity ‘substantially affects’ interstate commerce.” United

States v. Adams, 343 F.3d 1024, 1028 (9th Cir. 2003) (quoting United States v. McCoy, 323 F.3d

1114, 1119 (9th Cir. 2003)). Those factors are:

          (1) whether the regulated activity is commercial/economic in nature; (2) whether
          an express jurisdictional element is provided in the statute to limit its reach; (3)
          whether Congress made express findings about the effects of the proscribed activity
          on interstate commerce; and (4) whether the link between the prohibited activity
          and the effect on interstate commerce is attenuated.

Adams, 343 F.3d at 1028 (citing Morrison, 529 U.S. at 610-612). “The ‘most important’ factors

for a court to consider are the first and the fourth.” Id.

                 2.      Section 231(a)(3) does not substantially affect interstate commerce

          Section 231(a)(3) criminalizes “any act” that obstructs, impedes, or interferes with a local

police officer performing lawful duties “incident to and during the commission of a civil disorder

which in any way or degree obstructs, delays, or adversely affects commerce of the movement of

any article or commodity in commerce. . .” (emphasis added). Since § 231(a)(3) is not directed

at the channels or instrumentalities of commerce, only the third Lopez factor is at issue.

However, under the four controlling factors described in Adams and Morrison, § 231(a)(3) does




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not regulate activity that substantially affects interstate commerce. Accordingly, the statute is

unconstitutional.

                        a)      Section 231(a)(3) does not regulate economic activity

        As in Lopez and Morrison, the act of interfering with the duties of a law enforcement

officer in a civil disorder is not economic in nature. It therefore fails the first Morrison factor.

        In Lopez, the Court found the activity of gun possession under the Gun-Free School

Zones Act has “nothing to do with ‘commerce’ or any sort of economic enterprise, however

broadly one might define those terms.” Lopez, 514 U.S. at 567. Further, the Gun-Free School

Zones Act was “not an essential part of a larger regulation of economic activity, in which the

regulatory scheme could be undercut unless the intrastate activity were regulated.” Id.

Similarly, in Morrison, the Supreme Court concluded that the civil remedy for gender-motivated

violence under Violence Against Women Act was a regulation of noneconomic activity that

exceeded Congress’s commerce authority. 529 U.S. at 617. Even though the VAWA was

enacted with the support of significant congressional findings regarding the “nationwide,

aggregated impact” of gender-motivated violence on interstate commerce, the Court “reject[ed]

the argument that Congress may regulate noneconomic, violent criminal conduct based solely on

that conduct’s aggregate effect on interstate commerce.” Id. at 617. The “noneconomic, criminal

nature of the conduct at issue was central” to the Lopez and Morrison rulings. Morrison, 529

U.S. at 610.

        In contrast to Lopez and Morrison, in Gonzales v. Raich, the Supreme Court upheld a

federal law prohibiting the intrastate cultivation of marijuana for personal use because the law

formed an “essential part” of the Controlled Substances Act (CSA), which encompassed “a

larger regulation of economic activity.” 545 U.S. 1, 24-25 (2005) (quoting Lopez, 514 U.S. at



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561). The majority observed that the “primary purpose” of the CSA is “to control the supply and

demand of controlled substances in both lawful and unlawful drug markets.” Raich, 545 U.S. at

19. Understood within that larger framework, the challenged provision was a regulation on

“economic activity” because “failure to regulate the intrastate manufacture and possession of

marijuana would leave a gaping hole in the CSA.” Id. at 22.

        As with the statutes under consideration in Lopez and Morrison, the activity regulated by

§ 231(a)(3) is noneconomic for purposes of the first Morrison factor. The gravamen of §

231(a)(3) criminalizes obstruction, interference, and impeding state officers, with no direct

connection to commerce or economic activity. And, unlike in Raich, § 231(a)(3) is not part of

any larger body of economic regulation; it involves “a brief, single-subject statute[,]” which “by

its terms has nothing to do with commerce or any sort of economic enterprise, however broadly

one might define those terms.” Raich, 545 U.S. at 23-24 (distinguishing Lopez, 514 U.S. at 561)

(internal quotation marks omitted); accord Morrison, 529 U.S. at 613 (“Gender-motivated

crimes of violence are not, in any sense of the phrase, economic activity”).

                        b)       The jurisdictional element of § 231(a)(3) does not limit its reach to
                                 activities that substantially affect interstate commerce

        Although § 231(a)(3) contains a commercial nexus element, the element is faulty because

it does not limit the reach of the statute to activities that “substantially affect” interstate

commerce. There are several problems under the second Morrison factor on limitations to the

statute’s reach.

        First, the commercial nexus element is not connected to the “any act” element. Section

231(a)(3) makes it a crime to:

        commit any act to obstruct, impede, or interfere with any fireman or law
        enforcement officer lawfully engaged in the lawful performance of his official
        duties incident to and during the commission of a civil disorder which in any way


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       or degree obstructs, delays, or adversely affects commerce or the movement of any
       article or commodity in commerce.

(Emphasis added). The commercial nexus clause unambiguously modifies the term “civil

disorder,” not “any act.” Thus, a charge under § 231(a)(3) need not be supported by evidence

that a defendant’s act impacted interstate commerce. Instead, it requires evidence only that the

act interfered with an officer engaged in the performance of duties “incident to and during the

commission of a civil disorder,” and that the civil disorder, not the individual’s act, minimally

affected commerce.

       The statutory “incident to and during” connector further diminishes any required link to

interstate commerce. Although the statute does not make clear whether the connector applies to

the act itself or to the lawful performance of official duties, either construction places the

interstate commerce element another step removed from the regulated activity. The term

“incident” as an adjective connotes a degree of separation, in that one occurrence of lesser

importance is “[d]ependent on, subordinate to, arising out of, or otherwise connected with

(something else, usu. of greater importance).” INCIDENT, BLACK’S LAW DICTIONARY (11th ed.

2019). Activity with only an incidental connection to an event that affects commerce is not a

permissible subject of federal criminal law.

       Finally, the commercial nexus element of § 231(a)(3) does not require a substantial effect

on interstate commerce, but instead requires a civil disorder that affects commerce “in any way

or degree.” The terms are virtual opposites. Substantial means “[c]onsiderable in extent, amount,

or value,” whereas the word “any” is expansive and unqualified. Compare SUBSTANTIAL,

BLACK’S LAW DICTIONARY (11th ed. 2019) with ANY, BLACK’S LAW DICTIONARY (11th ed.




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2019); see St. Paul Fire & Marine Ins. Co. v. Barry, 438 U.S. 531, 550 (1978) (statutory

language that covered “‘any’ act” was “broad and unqualified”). An “any way or degree” impact

on commerce is not a “substantial” impact. The second Morrison factor is not satisfied.

                       c)      Congress did not find that § 231(a)(3)’s activities substantially
                               affect interstate commerce

       Formal congressional findings are neither required nor sufficient to establish a valid

exercise of federal commerce authority. Lopez, 514 U.S. at 562-63; Morrison, 529 U.S. at 614.

Congressional findings may demonstrate that an activity “substantially affects interstate

commerce, even though no such substantial effect [is] visible to the naked eye.” Lopez, 514 U.S.

at 563. But “the existence of congressional findings is not sufficient” when Congress merely

offers a “but-for causal chain from the initial occurrence of violent crime . . . to every attenuated

effect upon interstate commerce.” Morrison, 529 U.S. at 615.

       Here, Congress made no findings to establish that the activity regulated by § 231(a)(3)

substantially affects interstate commerce beyond any impact “visible to the naked eye.” The only

potentially relevant findings relate to the impact of “riots” on interstate commerce. 114 Cong.

Rec. 1294-95 (Jan. 29, 1968). Upon first proposing the Civil Obedience Act,

Senator Long stated certain facts, without citation, concerning what he called the “wholesale

Negro violence,” which he said “was an almost nightly affair in the streets of our cities” between

1965 and 1967. 114 Cong. Rec. 1295. For example, he said:

       In [1967], nearly 100 people were killed. Nearly 2,000 were injured. Police reported
       4,289 cases of arson alone. Over 16,000 rioters were arrested. The estimated
       property loss was in the neighborhood of $160 million. The estimated economic
       loss to riot-torn businesses was $504 million.

Id. Senator Long asserted that these “riots” impeded interstate commerce:

       Any riot, as we know and experience them today, generally does impede the flow
       of goods in interstate commerce. It stops the movement of people in interstate


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       commerce. It interferes with the goods that were intended to move in interstate
       commerce.

114 Cong. Rec. 5535-36 (Mar. 6, 1968).

       But the statutory definition of “civil disorder” involving “acts of violence by assemblages

of three or more persons” (18 U.S.C. § 232(1)) has no connection to riots on the scale described

by Senator Long. Moreover, § 231(a)(3) does not target the destructive behavior attendant to a

riot; the criminalized conduct is interference with an official’s duties “incident to and during” a

civil disorder. The congressional record contains no findings that individual interference with

police and firefighters as defined under § 231(a)(3) substantially affects interstate commerce.

The third Morrison factor is not satisfied.

                       d)      The relationship between § 231(a)(3)’s activities and any effect on
                               interstate commerce is too attenuated

       Any causal chain that could link the activity proscribed under § 231(a)(3) to any

substantial impact on interstate commerce is too far attenuated to place the activity within reach

of Congress’ commerce authority. The offense conduct of § 231(a)(3) need not affect commerce

directly. It suffices to establish that a person’s acts interfered with an official’s duties performed

“incident to and during” any “civil disorder” that, in turn, affects commerce. Such an “incidental

effect on interstate commerce . . . does not warrant federal intervention.” Musick v. Burke, 913

F.2d 1390, 1397 (9th Cir. 1990). The noneconomic conduct penalized by § 231 by definition is

too attenuated to satisfy the “substantially affects” test for commercial impact.

       Even if interference with police § 231(a)(3) could affect commerce in the aggregate,

when considered on a nationwide scale, that would be insufficient to place those acts within the

federal commerce authority. In Morrison, the Supreme Court “reject[ed] the argument that

Congress may regulate noneconomic, violent criminal conduct based solely on that conduct’s



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aggregate effect on interstate commerce.” 529 U.S. at 617. Here, the paucity of cases prosecuted

under § 231(a)(3) further negates any claim of an aggregate effect. In sum, the four Morrison

factors demonstrate that § 231(a)(3) regulates purely local, noneconomic activities that do not

“substantially affect” interstate commerce. As a result, § 231(a)(3) falls outside of Congress’s

power to regulate under the Commerce Clause.

       C.      The Section 231(a)(3) charge must be dismissed, or limited to prohibiting acts
               of violence, to avoid overbreadth

       “In the First Amendment context, . . . a law may be invalidated as overbroad if ‘a

substantial number of its applications are unconstitutional, judged in relation to the statute’s

plainly legitimate sweep.” United States v. Stevens, 559 U.S. 460, 481 (2010). Here, the Court

should either invalidate Section 231(a)(3) or else construe the statute so that its applications are

limited to prohibiting unprotected acts of violence.

       Section 231(a)(3) extends to a substantial amount of constitutionally protected speech

and expressive conduct in excess of the law’s legitimate sweep. Such broad criminal statutes like

§ 231(a)(3) “must be scrutinized with particular care.” City of Houston v. Hill, 482 U.S. 451, 459

(1987); see also Winters v. New York, 333 U.S. 507, 515 (1948) (“The standards of certainty in

statutes punishing for offenses is higher than in those depending primarily upon civil sanction for

enforcement.”). Criminal laws that “make unlawful a substantial amount of constitutionally

protected conduct may be held facially invalid even if they also have legitimate application.” Id.

Several of the statute’s terms are so left so broad and indefinite as to impose unqualified burdens

on a range of protected expression.

       First, by penalizing “any act,” § 231(a)(3) reaches to the outer limits of verbal and

expressive conduct without drawing any distinction that could exclude acts undertaken merely to

convey a message or symbolic content. Roy v. City of Monroe, 950 F.3d 245, 252 (5th Cir.


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2020) (acknowledging that “[s]tanding alone . . . a prohibition on ‘any act [undertaken] in such a

manner as to disturb or alarm the public’ fails meaningfully to guide the police and thus poses a

substantial risk of arbitrary or discriminatory enforcement.”).

       Second, § 231(a)(3) imposes a substantial burden on protected expression by requiring

that “any act . . . obstruct, impede, or interfere with any fireman or law enforcement officer

lawfully engaged in the lawful performance of his official duties.” The term “interfere,” which

the statute leaves undefined, reaches a broad range of speech and expressive conduct. The law’s

author acknowledged this when, in a Senate hearing two days after he introduced the Civil

Obedience Act, he criticized the term “interference” as used in the hate crime law by asking

whether “almost anything could be regarded as an interference?” 114 Cong. Rec. 1819 (Feb. 1,

1968) (Sen. Long)). In the context of the § 231(a)(3), Senator Long’s interpretation of

“interference” rings true because “there are numerous examples in which a person’s speech

could interfere with . . . a police officer in the lawful discharge of the officer’s duties.” McCoy v.

City of Columbia, 929 F. Supp. 2d 541, 550 (D.S.C. 2013) (invalidating a state statute for

overbreadth that made it “unlawful for any person to interfere with or molest a police officer in

the lawful discharge of his duties.”).

       Indeed, § 231(a)(3) authorizes a felony conviction for a bystander who yells at police to

desist from an arrest, one who flips off officers to distract or to encourage resistance, or one who

records police activity with a cell phone. Hill, 482 U.S. at 459 (“[W]e have repeatedly

invalidated laws that provide the police with unfettered discretion to arrest individuals for words

or conduct that annoy or offend them.”); Glik v. Cunniffe, 655 F.3d 78, 83 (1st Cir. 2011) (“[T]he

First Amendment protects the filming of government officials in public spaces.”). The First

Amendment does not permit such an unqualified prohibition on “interference” with police duties



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because “the freedom of individuals verbally to oppose or challenge police action without

thereby risking arrest is one of the principal characteristics by which we distinguish a free nation

from a police state” Hill, 482 U.S. at 462–63 (1987).

        Third, the term “civil disorder,” as defined under § 232(1), is extremely far-reaching,

applying to “any public disturbance involving acts of violence by assemblages of three or more

persons, which causes an immediate danger of . . . injury to the property.” Rather than limiting

the statute, § 231(a)(3)’s language reaches “any public disturbance” in the types of traditional

public fora where First Amendment protections are at their zenith. Long Beach Area Peace

Network v. City of Long Beach, 574 F.3d 1011, 1022 (9th Cir.2009) (“In traditional public fora . .

. First Amendment protections are strongest, and regulation is most suspect.”).

        Moreover, the “civil disorder” definition sweeps broadly to cover incidents in which

three or more persons cause an immediate danger of injury to persons or property. 18 U.S.C. §

232(1). The definition can just as easily be met by a violent mob of thousands as it can by the

ejection of several unruly individuals from a bar, concert, or sporting event, or even by three

teenagers whose skateboarding damages property. Finally, to be convicted under § 231(a)(3), a

person’s interference with police duties must merely occur “incident to and during” the civil

disorder, and it need not be shown that the defendant incited the civil disorder or engaged in

“acts of violence” that the civil disorder “involves.” The term “civil disorder” fails to limit the

overbreadth of penalizing “any act” of interference with police duties.

        For all those reasons, the Court should invalidate Section 231(a)(3) for overbreadth. But

if it does not, it should at least construe the statute so as to avoid constitutional conflict. That

means limiting Section 231(a)(3)’s applications to acts of violence. That is precisely what the

Eighth Circuit did in United States v. Mechanic, 454 F.2d 849, 853-54 (8th Cir. 1971). To avoid



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the defendant’s overbreadth challenge, the court of appeals held that Section 231(a)(3) “applies

only to violent physical acts.” Id. (emphasis added). In that case, the violent physical acts

included throwing “a barrage of bricks, stones, glass, and cherry bombs” at police officers. Id. at

851. See also Rupert, 2021 U.S. Dist. LEXIS 46798, *20 (applying Mechanic and limiting

Section 231(a)(3) to violent acts, in that case involving providing explosive devices to rioters

who threw them at police officers).

          Such a statutory construction also happens to be consistent with virtually every

application by DOJ of Section 231(a)(3)—except in this case. United States v. Wood, 2021 U.S.

Dist. LEXIS 134774, *2 (D. Del. July 20, 2021) (defendant threw bricks at police); United States

v. Patton, 2021 U.S. Dist. LEXIS 108479, * 2 (D. Utah June 8, 2021) (defendant set a police car

on fire); United States v. Featherston, 461 F.2d 1119, 1122 (5th Cir. 1972) (defendants made

explosives for the “coming revolution”); United States v. Casper, 541 F.2d 1275, 1277 (8th Cir.

1976) (defendants shot at law enforcement); United States v. McArthur, 419 F. Supp. 186, 192

(D.N.D. 1975) (same); United States v. Jaramillo, 380 F. Supp. 1375, 1377 (D. Neb. 1974)

(same).

          Indeed, in virtually every other January 6 case in which Section 231(a)(3) is charged, an

act of violence is alleged:

 § 231(a)(3) 1/6 Defendant          Case No.                         Violent criminal conduct

 Adams                              21-cr-84                         Pushed police officers against
                                                                     a wall
 Alam                               21-cr-190                        Threw punches at law
                                                                     enforcement
 Antonio                            21-cr-497                        Threw objects at police

 Ballard                            21-mj-529                        Threw tabletop at police

 Bingham                            21-mj-430                        Threw punch at officer


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Brock                        21-mj-527                    Striking police with rod

Brockhoff                    21-mj-444                    Shooting fire extinguisher at
                                                          police
Brown                        21-mj-565                    Spraying pepper spray in
                                                          officers’ faces
Brown                        21-mj-498                    Pushing and punching police

Buteau                       21-mj-487                    Throwing hard objects at
                                                          police
Byerly                       21-mj-500                    Tasing police

Caldwell                     21-cr-181                   Spraying pepper spray at
                                                         police
Chrestman                    2021 U.S. Dist. LEXIS 36117 Threatening to assault
                                                         officers
Cua                          2021 U.S. Dist. LEXIS 44293 Shoving officer

Coffee                       21-cr-327                    Hitting officer with crutch

Copeland                     21-mj-403                    Shoving and grabbing officer

Council                      21-mj-08                     Shoving officers

Dasilva                      21-mj-520                    Grabbing, pushing and
                                                          pulling police
Davis                        21-mj-536                    Shoving police

DeGrave                      2021 U.S. Dist. LEXIS 92102 “Coming to blows” with
                                                         police
Egtvedt                      21-cr-177                   Throwing punches at police

Fairlamb                     21-cr-120                    Shoving and punching police

Fitzsimons                   21-cr-158                    Punching officers

Foy                          2021 U.S. Dist. LEXIS        Swinging hockey stick and
                             123953                       throwing objects at police
Galetto                      21-mj-386                    Knocking officer to the
                                                          ground
Hayah                        21-mj-577                    Shoving officers

Jenkins                      21-cr-245                    Throwing pole at officers

Johnson                      21-cr-332                    Knocking over officer who
                                                          falls unconscious

                                                                                          68
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Judd                         21-cr-40                  Throwing object on fire at
                                                       police
Klein                        21-cr-236                 Striking officers with shield

Lang                         21-cr-53                  Thrusting a bat and shield at
                                                       officers
Languerand                   21-cr-353                 Throwing garbage cans at
                                                       officers
Lazar                        21-mj-533                 Spraying chemicals at police

Mackrell                     21-cr-276                 Striking multiple officers

McCaughey III                21-cr-40                  Striking multiple officers

McGrew                       21-cr-398                 Striking officer

McHugh                       21-cr-453                 Macing officers

McKellop                     21-cr-268                 Macing officers

Mellis                       21-cr-206                 Striking officers with a stick

Middleton                    21-cr-367                 Poking officers in the face

Miller                       21-cr-75                  Spraying officers with pepper
                                                       spray
Morss                        21-cr-40                  Striking officer with shield

Mullins                      21-cr-35                  Assaulting officer

Nichols                      21-cr-117                 Spraying pepper spray at
                                                       officers
Owens                        21-cr-286                 Striking officer in the head
                                                       with skateboard
Padilla                      21-cr-214                 Ramming cop with metal sign

Palmer                       21-cr-328                 Spraying fire extinguisher in
                                                       face of officer
Pezzola                      21-cr-52                  Smashing large window of
                                                       Congress, a crime of violence
Quaglin                      21-cr-40                  Striking multiple officers

Randolph                     21-cr-332                 Assaulting officer

Sabol                        21-cr-35                  Striking officer


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 Sandlin                          21-cr-88                         Attempting to rip helmet off
                                                                   officer
 Sandford                         21-cr-86                         Throws fire extinguisher at
                                                                   officers
 Sargent                          21-cr-258                        Throwing punches at officers

 Schwartz                         21-cr-178                        Bear spraying officers

 Shively                          21-cr-151                        Assaulting officers

 Sibick                           21-cr-291                        Attempting to take officer’s
                                                                   gun, while threatening to kill
                                                                   him
 Stager                           21-cr-35                         Smashing officer with flag
                                                                   pole
 Stevens                          21-cr-40                         Striking officer with shield

 Warnagris                        21-cr-382                        Shoving officer

 Webster                          21-cr-208                        Striking officer with flag pole

 Woods                            21-cr-476                        Tripping officer and pushing
                                                                   her to ground

       Accordingly, to the extent the Court does not find Section 231(a)(3) constitutionally

overbroad, it should construe the statute to be limited to “violent physical acts.” Mechanic, 454

F.2d at 853-54; Rupert, 2021 U.S. Dist. LEXIS 46798, *20.

IV.    The Section 1752 counts should be dismissed

               A.      The SI fails to state an offense because only the USSS restricts areas
                       under § 1752

       Counts Five and Six contend that Mostofsky violated § 1752 by entering the Capitol

Building, which the SI characterizes as a “restricted building and grounds,” as that phrase is

defined in § 1752. However, it does not allege that the U.S. Secret Service (USSS) restricted

that area under the statute. 17 The government’s position that any government entity may set a


17
  The government has conceded in other January 6 cases that the USSS did not set any restricted
area on that day.
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restricted area under § 1752 finds no support in the statutory text, the case law, or the legislative

history.

       Penal statutes are strictly construed. United States v. Moore, 613 F.2d 1029, 198 U.S.

App. D.C. 296 (D.C. Cir. 1979). The plain meaning of § 1752 unequivocally indicates that the

USSS alone sets restricted areas. As shown above, all three definitions of “restricted building or

grounds” in § 1752(c)(1) concern the authority and actions of the USSS and not any other federal

agency. Section 3056, concerning the “powers, authorities, and duties of United States Secret

Service,” confirms that § 1752 is a statute directed to the USSS and not any other federal agency.

18 U.S.C. § 3056(d).

       Section 1752 defines “restricted building or grounds” to mean “any posted, cordoned off,

or otherwise restricted area” in any of three scenarios set forth in the statute. § 1752(c)(1). If an

area is to be “restricted,” § 1752(c)(1), some person or government entity must do the restricting.

Areas do not restrict themselves. That statutory phrase’s neighboring provisions, and common

sense, reveal exactly which entity does the restricting. First, the restricting entity must be a

government agency. If a § 1752 restricted area could be set by any person, it would be illegal to

enter an area “cordoned off” around the White House by a homeless person using tinfoil traffic

cones. § 1752(c)(1)(A). Second, that government agency is the USSS because each of the three

types of “restricted area” are patrolled and managed by that specific agency and no other. §

1752(c)(1)(A)-(C).

       That is why what little § 1752 precedent there is supports Mostofsky, while none

supports the government’s interpretation. To be clear: before January 6, the government never

prosecuted a § 1752 case where the “restricted area” was set by any entity other than the USSS.

Instructive is United States v. Bursey, 416 F.3d 301 (4th Cir. 2005). There, Bursey entered an



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area restricted by the USSS in advance of a political rally in South Carolina held by the

president. Id., at 304. Reviewing the trial record, the Fourth Circuit observed that “the Secret

Service designated an area near [the rally] as a restricted area.” Id. It also noted that the

“authorized persons” admitted into the area all “wore lapel pins issued by the Secret Service,”

meaning that the USSS was the entity that granted “lawful access” to the area. Id. Intending to

protest the Iraq war, Bursey approached the restricted area with a megaphone. A Secret Service

Agent advised him he could not remain in that area. He was repeatedly advised thereafter of the

same by multiple law enforcement agents over a twenty to twenty-five minute period. Id.

Bursey was charged and convicted under § 1752(a)(1).

       One sufficiency argument Bursey raised on appeal was that, as a matter of mens rea, “he

was never advised that the area was a federally restricted zone, so designated by the Secret

Service.” 416 F.3d at 308 (emphasis added). The Fourth Circuit rejected this argument. But not

on the ground that § 1752 restricted areas need not be so restricted by the USSS. Instead, trial

evidence showed that Bursey “understood the restriction to have been created by the Secret

Service (as opposed to state or local law enforcement).” Id. Added the Fourth Circuit,

       [T]here was ample evidence that Bursey understood the area to have been restricted by
       the Secret Service, and thus a federally restricted zone. Specifically, Bursey testified that
       he believed that “at that event, October, when the President came to town, that the
       circumstances would be similar to his prior visits, where … the Secret Service comes in
       and preempts” local and state police. . . Bursey also acknowledged that, in protesting at
       two earlier visits to South Carolina by the incumbent President, he was advised in both
       instances that “the Secret Service had basically preempted the security arrangements” of
       local police.

Bursey, 416 F.3d at 309 (emphasis added).

       The import of the Fourth Circuit’s logic is clear. Had the Fourth Circuit even

contemplated the idea that entities other than the USSS could restrict areas under § 1752, the

above reasoning would lack sense. Likewise, the trial court also simply assumed the USSS was


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the only entity that restricts areas under the statute. United States v. Bursey, 2004 U.S. Dist.

LEXIS 29661, at *31 (D.S.C. Sept. 13, 2004) (“Bursey’s own testimony confirms that he

understood the restrictions would be established by the Secret Service.”).

       The government’s anyone-may-restrict interpretation yields absurd results. See United

States v. Am. Trucking Ass’ns, Inc., 310 U.S. 534, 543, 60 S. Ct. 1059, 84 L. Ed. 1345

(1940) (“When [one possible statutory] meaning has led to absurd or futile results . . . this Court

has looked beyond the words to the purpose of the act.”); see also Corley v. U.S., 556 U.S. 303,

317, 129 S. Ct. 1558, 173 L. Ed. 2d 443 (2009) (interpreting criminal procedure statute to avoid

“absurdities of literalism”); Ctr. for Biological Diversity v. E.P.A., 722 F.3d 401, 411, 406 U.S.

App. D.C. 140 (D.C. Cir. 2013) (recognizing “‘the long-standing rule that a statute should not be

construed to produce an absurd result’” (quoting Mova Pharm. Corp. v. Shalala, 140 F.3d 1060,

1068, 329 U.S. App. D.C. 341 (D.C. Cir. 1998)). Consider a Secret Service protectee who is

“temporarily visiting” a place. § 1752(c)(1)(B). The Secret Service sets a “restricted area” of

one block around the protectee’s presence. Under the government’s construction, any local

police unit could decide to extend the “restricted area” to 20 blocks, without authorization from

the Secret Service: the agency charged with protecting the person for whose sake the area is

restricted in the first place. If any person were to enter the expanded area without “lawful

authority” (from the local police? The Secret Service?) the same government that deemed the

area limited to one block could also prosecute a person for entering block 20. The statute has

simply never worked that way, as the Secret Service would readily attest.

       At the very least, the government’s interpretation is not unambiguously correct on the

face of the statute. In that case, the Court would look to legislative history. See, e.g., BedRock

Ltd., LLC v. United States, 541 U.S. 176, 124 S. Ct. 1587, 1595 (2004) (“Because we have held



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that the text of the statutory reservation clearly excludes sand and gravel, we have no occasion to

resort to legislative history.”). As shown above, that history could hardly be clearer: the entire

purpose of Section 1752 was to vest a specific federal agency with area-restricting authority

which no agency then possessed: the USSS. That way, the USSS would not need to “rely upon a

patchwork of State laws and local ordinances and local officers” to restrict areas. 116 Cong.

Rec. 35,651 (1970) (statement of Sen. McClellan) (emphasis added); 116 Cong. Rec. 35,653

(statement of Sen. Hruska) (USSS does not “presently possess adequate Federal authority” to

restrict areas). A Senate Judicial Committee report explicitly states that the purpose of § 1752

was to vest the Secret Service specifically with the power to set federal restricted areas. S. Rep.

No. 91-1252 (1970), at 7 (“[a]lthough the Secret Service [was] charged with protecting the

person of the President . . . there [was], at the present time, no Federal statute which specifically

authorize[d] them to restrict entry to areas where the President maintains temporary residences

or offices.”) (emphasis added).

       This is not just Mostofsky’s view. It is (or was) also the view of the Office of Legal

Counsel of the Department of Justice. See Citizens for Responsibility & Ethics in Wash. v.

United States, 922 F.3d 480, 483 (D.C. Cir. 2019) (“The authority of the OLC is nearly as old as

the Republic itself.”). In May 1995, the Secretary of the Treasury requested a legal opinion from

the OLC on whether the Secretary had authority to restrict traffic on a segment of Pennsylvania

Avenue in order to protect the President. Authority of the Secretary of the Treasury to Order the

Closing of Certain Streets Located Along the Perimeter of the White House, 19 Op. Off. Legal

Counsel 109 (1995). In crafting this opinion, OLC painstakingly examined the text of § 1752

and its legislative history. Id. at 109-122. OLC determined that § 1752 did, in fact, specify




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which government entity restricts areas under that statute. It is the Secret Service via the

Treasury Department:

       Section 1752 plainly grants the [Treasury] Secretary authority to limit ingress and egress
       to an area where the President will be visiting to create a security perimeter, even when
       creating such a perimeter will require the closing of a public street to vehicular traffic.

Op. Off. Legal Counsel, p. 113 (emphasis added).

       Accordingly, Counts Five and Six should be dismissed because the government does not

allege the “restricted area” Mostofsky entered was set by the USSS (the government concedes it

was not).

       B.      If the government’s interpretation of § 1752 is applied, it is
               unconstitutionally vague as to Mostofsky

       If the Court concludes that the SI properly charges Mostofsky with violating § 1752 by

crossing a boundary set by an agency other than the USSS, the statute is unconstitutionally vague

as applied to him.

       Under the government’s interpretation of § 1752, there is no notice, much less “fair

notice,” of the conduct proscribed in this case. As shown above, the text, legislative history, and

common sense all point to the ordinary person’s reasonable conclusion that the government

agency that may restrict a person from entering an area in which there is a Secret Service

protectee is—the Secret Service. Assuming the truth of the government’s allegations in this

case, Mostofsky saw police lined up outside the U.S. Capitol, whether they were U.S. Capitol

Police or Metro Police. But if the text, legislative history and common sense inform an

“ordinary person” that he violates § 1752 by entering an area the Secret Service has restricted—

as in Bursey, one of the handful of cases interpreting the statute—there is no similar notice in the

statute that being on the wrong side of a police barricade is, independent of the Secret Service, in

violation of that statute. The SI does not allege postings on January 6 warning Mostofsky that


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the Secret Service designated the area he entered as restricted. They do not allege any law

enforcement officers notified Mostofsky of that fact. Nothing in § 1752 so much as hints at the

possibility that disobeying local law enforcement per se may result in liability under that federal

statute, provided some USSS protectee lurks somewhere within the “restricted area.”

       The concern about vagueness-enabled arbitrary enforcement is manifested here. At a

general level, the government’s enforcement of § 1752 against Mostofsky is arbitrary because,

prior to January 6, it had never prosecuted a violation of that statute with the allegation that the

accused entered an area restricted by some government agency other than the USSS.

Accordingly, the government’s election to put a new interpretation on the statute for a select

group of related cases raises questions about discriminatory law enforcement. Those questions

are only underlined by the patently political nature of the circumstances of the offense, as well as

the criminalization of Mostofsky’s First Amendment rights to political speech, assembly, and to

petition the government for a redress of grievances. U.S. Const. amend I; Hoffman Estates, 455

U.S. at 500 (stricter scrutiny of vague statutes in the context of activities protected by the First

Amendment).

       Perhaps more serious is the specific arbitrariness here. Hundreds or perhaps thousands of

other protesters “entered” the same “restricted area” as Mostofsky on January 6. Yet it is

undisputed that many of those people have not been charged under § 1752 like him. Mostofsky

was singled out for reasons that do not concern the animating purpose of the Secret Service

statute. Insofar as they both allege that Mostofsky entered and remained in a “restricted area” set

by an agency nowhere identified in the statute, Counts Five and Six are unconstitutionally vague.




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        C.      The rule of lenity dictates that ambiguities in § 1752 be resolved in
                Mostofsky’s favor

        Here, even if the Court decides that the government’s interpretation of § 1752 is

somehow formally correct—i.e., that any entity may set restricted areas under § 1752(c)—it is

plainly not unambiguously so. That is shown by the lack of any references in § 1752 to agencies

other than the USSS; the statute’s legislative history, which similarly focuses exclusively on the

USSS; the clear role that the USSS plays in all three definitions of “restricted buildings or

grounds” in § 1752(c); the indication in Section 3056 that the USSS enforces restricted areas in §

1752; the lack of any case law supporting the government’s position; and the common sense

notion that if the USSS patrols and guards the restricted areas in § 1752, it also sets them.

        Because the government’s interpretations are not unambiguously correct, the Court is

required to resolve any ambiguities in Mostofsky’s favor by dismissing Counts Five and Six.

Granderson, 511 U.S. at 54; Santos, 553 U.S. at 515.

        D.      The novel construction principle dictates against the government’s
                interpretation, which would operate as an ex post facto law

        Because no court before January 6 ever construed Section 1752 to mean that agencies

other than the USSS may set restricted areas under the statute, such a construction would be

retroactively applied to Mostofsky and would constitute an ex post facto law in violation of the

Due Process Clause of the Fifth Amendment. Bouie, 378 U.S. at 353.

        Mostofsky did not “violate the statute as it was written.” Bouie, 378 U.S. at 355. Section

1752 prohibits entry into an area restricted by the USSS. There is “nothing in the statute to

indicate that it also prohibited the different act,” Bouie, 378 U.S. at 355, of entering into an area

restricted by the U.S. Capitol Police. “The interpretation given the statute by the [government] .

. . has not the slightest support in prior [§ 1752] decisions.” Id.



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       Accordingly, the novel construction principle dictates against the government’s

interpretation, which would operate as an ex post facto law in violation of the Due Process

Clause of the Fifth Amendment.

                                     CONCLUSION

       For all the foregoing reasons, Mostofsky respectfully requests that the Court dismiss

Counts One, Two, Five and Six of the SI.

Dated: August 30, 2021                       Respectfully submitted,


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                                     Certificate of Service
       I hereby certify that on the 30 day of August 2021, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

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       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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